Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 1 of 43 PageID #: 346




                           EXHIBIT B
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 2 of 43 PageID #: 347
                                                                   THIRUTULOTULLITTUR               US009769556B2

 (12) United
      Honeycutt
                States Patent                                                  (10) Patent No.:                     US 9 ,769, 556 B2
                                                                               (45) Date of Patent:                           Sep . 19 , 2017
 (54 ) MAGNETIC EARPHONES HOLDER                                         ( 56 )                         References Cited
        INCLUDING RECEIVING EXTERNAL
        AMBIENT AUDIO AND TRANSMITTING TO                                                      U . S . PATENT DOCUMENTS
        THE EARPHONES                                                             3, 392,729 A           7 /1968 Lenoir
                                                                                  3 ,604 ,069 A          9/ 1971 Jensen
 (71 ) Applicant: Snik LLC , Berkeley, CA (US)                                    3 ,753, 201 A          8 / 1973 Ohman
                                                                                                             (Continued )
 (72 ) Inventor: Rob Honeycutt , Berkeley, CA (US)
 (73 ) Assignee : Snik LLC , Berkeley, CA (US )                                            FOREIGN PATENT DOCUMENTS
                                                                         CN                       1338231 A         3 /2002
 ( * ) Notice : Subject to any disclaimer, the term of this              CN                       1890855 A         1/ 2007
                  patent is extended or adjusted under 35                                                  (Continued )
                  U .S .C . 154 (b ) by 0 days.
                                                                                          OTHER PUBLICATIONS
 (21) Appl. No.: 14/215,833
                                                                        Office Action from Japanese Patent Application No. 2014 - 558859.
 ( 22 ) Filed : Mar. 17, 2014                                           Declaration of Rob Honeycutt , executed on Oct. 7, 2010 .
 (65)                Prior Publication Data
        US 2014 /0198929 A1 Jul. 17 , 2014                              Primary Examiner — Quoc D Tran
                                                                        Assistant Examiner — Ryan Robinson
               Related U .S . Application Data                           (74) Attorney, Agent, or Firm — Haverstock & Owens
                                                                        LLP
 (63) Continuation - in -part of application No. 13 / 734 , 871,
       filed on Jan . 4 , 2013 , now Pat. No. 9 , 167,329 .
 (60 ) Provi
       Provisional application No.61/601,722, filed on Feb .             (57 )                           ABSTRACT
       22 , 2012 , provisional application No. 61/671, 575 ,             A set of headphones and audio system comprises a first set
        filed on Jul. 13 , 2012 , provisional application No .           of buttons for controlling a volume level of transmitted
       61/712 ,136 , filed on Oct. 10 , 2012 .                           audio to the headphones and a second set of buttons for
 (51) Int. Ci.                                                          controlling a volume level of external audio played by the
       H04R 25 /00              ( 2006 .01)                             headphones. The transmitted audio comprises audio
                                                                        received from an audio source such as an electronic device
       H04R 1/10                ( 2006 .01)                             and the external audio comprises surrounding ambient noise
       HO4R 1 /02               ( 2006 .01)                             received by a microphone coupled to the headphones. With
 (52) U . S . CI.                                                        the first set of controls and the second set of controls a user
      CPC .......... H04R 1/ 1041 (2013 .01); H04R 1/028                is able to adjust the volume level of the transmitted audio
                  (2013 .01); H04R 1/ 1016 (2013 .01 ); H04R            and the volume level of the external audio in order to listen
               1/ 1033 ( 2013 .01); H04R 2201/023 ( 2013 .01)            to the transmitted audio while still interacting with the
 ( 58 ) Field of Classification Search                                  surrounding environment.
       CPC .... HO4R 1 /1041; H04R 1/ 1083 ; H04R 5 /033 ;
                                             HO4R 2460 /05
       See application file for complete search history .                                   55 Claims, 24 Drawing Sheets
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Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 3 of 43 PageID #: 348


                                                                   US 9,769 ,556 B2
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Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 4 of 43 PageID #: 349


 U . S . Patent       Sep . 19, 2017    Sheet 1 of 24      US 9 ,769,556 B2




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                       110                  \ 140




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                                       Fig . 1
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 5 of 43 PageID #: 350


 U . S . Patent        Sep . 19, 2017           Sheet 2 of 24                 US 9 ,769 ,556 B2



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                                        WD275
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 6 of 43 PageID #: 351


 U . S . Patent           Sep. 19, 2017           Sheet 3 of 24                  US 9 ,769,556 B2

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                                                              Fig
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                                Fig                                              3C
                                                                                 .
                                                                                 Fig




                   300                                360

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                                                                                       Fig
                                      305     365
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 7 of 43 PageID #: 352


 U . S . Patent        Sep . 19, 2017    Sheet 4 of 24    US 9 ,769,556 B2




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                                    Fig . 4
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 8 of 43 PageID #: 353


 U . S . Patent                 Sep . 19, 2017     Sheet 5 of 24         US 9 ,769,556 B2




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                          500                                      Fig. 5A
      580

            515         510


                        Fig. 5B
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 9 of 43 PageID #: 354



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 U . S . Patent       Sep . 19, 2017   Sheet 6 of 24           US 9 ,769,556 B2



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                       Fig . 5E
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                                                          Fig . 5C
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                  Fig . 5D
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 10 of 43 PageID #: 355


  U . S . Patent      Sep . 19, 2017          Sheet 7 of 24     US 9 ,769,556 B2




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                   Fig . 5G
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                                                      Fig. 5F
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 11 of 43 PageID #: 356


  U . S . Patent      Sep . 19, 2017   Sheet 8 of 24                     US 9 ,769,556 B2




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      635                                                                      635
                                       6A
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                                       Fig                                           6B
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Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 12 of 43 PageID #: 357


  U . S . Patent          Sep . 19, 2017             Sheet 9 of 24         US 9 ,769 ,556 B2




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                                               610                   645 Fig
                                                                         6C
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         009                                                                  6D
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                                                                              Fig
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 13 of 43 PageID #: 358


  U . S . Patent        Sep. 19 , 2017   Sheet 10 of 24         US 9 ,769,556 B2




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                   Fig . 7A
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                                  Fig . 7B
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 14 of 43 PageID #: 359


  U . S . Patent       Sep . 19, 2017   Sheet 11 of 24         US 9 ,769,556 B2



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Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 15 of 43 PageID #: 360


  U . S . Patent                     Sep . 19, 2017              Sheet 12 of 24         US 9 ,769,556 B2




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Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 16 of 43 PageID #: 361


  U . S . Patent         Sep. 19, 2017            Sheet 13 of 24       US 9 ,769,556 B2


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                              Fig . 10A
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                              Fig . 10B
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 17 of 43 PageID #: 362


  U . S . Patent               Sep . 19 , 2017             Sheet 14 of 24            US 9 ,769 ,556 B2


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                                                     Fig . 11
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               1215                 )
                       Fig . 12A                                               Fig . 12B
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 18 of 43 PageID #: 363


  U . S . Patent            Sep. 19, 2017            Sheet 15 of 24                  US 9 ,769,556 B2




      1300




        Earbud Engagement              Electronic Device                   Electric Device Activation
        Detector                       Controller                          Circuit


     1330                                                                1355




                                    1340

                                            Fig . 13
                                              Start               1402
                                    Detecting the engagement                1404
                                       status of an carbud


                                       Sending a signal to
                                  operate the electronic device              1406
                                  based upon the engagement
                                      status of the earbud


                                               End                1408
                                            Fig . 14
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 19 of 43 PageID #: 364


  U . S . Patent      Sep. 19, 2017           Sheet 16 of 24               US 9 ,769,556 B2

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                                           Fig . 15
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                                           Fig. 16
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 20 of 43 PageID #: 365


  U . S . Patent       Sep. 19 , 2017           Sheet 17 of 24                US 9,769 ,556 B2

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                                          Fig . 17
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                                          Fig . 18
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 21 of 43 PageID #: 366


  U . S . Patent              Sep . 19, 2017   Sheet 18 of 24        US 9 ,769,556 B2




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                  ku 1985                                                         1905




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                                        Fig. 19A
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 22 of 43 PageID #: 367


  U . S . Patent            Sep . 19, 2017          Sheet 19 of 24          US 9 ,769,556 B2


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                                          Fig . 19E
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              19030                                                         21903


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                  Fig . 19B                                     Fig . 19C
                                               1903
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                                        Fig. 19D
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 23 of 43 PageID #: 368


  U . S . Patent      Sep . 19, 2017           Sheet 20 of 24            US 9 ,769,556 B2



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                               Fig . 20
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                    1907 te            -             1911
                             1913
                               Fig . 21
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 24 of 43 PageID #: 369


  U . S . Patent      Sep . 19, 2017      Sheet 21 of 24   US 9 ,769,556 B2




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                              1965



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                                       Fig . 22
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 25 of 43 PageID #: 370


  U . S . Patent              Sep . 19, 2017        Sheet 22 of 24                US 9 ,769,556 B2



              2300
                                                                    2340
     233024                                                                                      2355
               Earbud engagement
                    detector
                                                   Electronic               Electronic Device
     2360                                       Device Controller           Activation Circuit
               Touch sensor
                 detector


                                               Fig . 23

                                                 Start -            2402

                                         Detecting a contact               2404
                                         of the touch sensor


                                          Sending a signal to              2406
                                     operate an electronic device
                                     based upon the action status
                                         of the touch sensor

                                                 End -              2408
                                               Fig . 24
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 26 of 43 PageID #: 371


  U . S . Patent                  Sep . 19, 2017        Sheet 23 of 24                 US 9 ,769,556 B2



     2500


        Finangrants
        First set of controls

             2530
                                                                         -            Transmitted Audio
                                                                                      Adjustment Circuit
                                                                                          2550
                                                   Headphones
                                                    Controller                          External Audio

            20
       Second set of controls

             2535
                                                                                      Adjustment Circuit

                                                                                          2555


                                              2540


                                               Fig . 25
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                                               Fig . 26
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 27 of 43 PageID #: 372


  U . S . Patent         Sep . 19, 2017        Sheet 24 of 24         US 9 ,769,556 B2




                                      Start r2 2710
               Receive transmitted Audio from an Audio Source     n      2720
                                                                          2720


              Receive external Audio from a microphone of a set
                                 of headphones                    n      2730
                                                                          2730


                   Adjust a volume level of one ormore of the
                    transmitted audio and the external audio             - 2740


                                      End 22750

                                 Fig . 27
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 28 of 43 PageID #: 373


                                                        US 9, 769,556 B2
          MAGNETIC EARPHONES HOLDER                                   an electronic device controller which controls the operation
          INCLUDING RECEIVING EXTERNAL                                of an electronic device . The controller is configured to send
      AMBIENT AUDIO AND TRANSMITTING TO                               a signal to an electronic device activation circuit which
                THE EARPHONES                                         activates the electronic device when the earphones are
                                                                      decoupled from the one or more magnetically attractable
                  RELATED APPLICATIONS                                surfaces of the earphones holder body and deactivates the
                                                                      electronic device when the earphones are coupled with the
     This Patent Application is a continuation -in -part of the       one or more magnetically attractable surfaces of the ear
 co -pending U .S . patent application Ser. No. 13 /734 ,871 filed phones holder body . In further embodiments, the electronic
 Jan . 4 , 2013 , and entitled “ HEADSET CORD HOLDER " . 10 device controller which controls the operation of an elec
 which is hereby incorporated by reference in its entirety, tronic device . Particularly, the controller is configured to
                                                                   send a signal to an electronic device activation circuit which
 which claims priority under 35 U .S .C . 119 (e ) to the U . S . operates
 provisional patent application , Application No . 61/601,722 ,              the electronic in a manner dependent upon a signal
 filed on Feb . 22, 2012 , and entitled “MAGNETIC EAR              from  the  holder body.
 PHONES HOLDER ,” the U . S . provisional patent applica - 15 A system for holding a set of earphones comprises a
  tion. Application No. 61/671 .572 . filed on Jul. 13 . 2012 . and   holder body, one or more magnetically attractable surfaces
  entitled “ MAGNETIC EARPHONES HOLDER ,” and the                     attached to the holder body for removably coupling with a
  U .S . provisional patentapplication , Application No.61/712 ,      set of earphones , a touch sensor, a touch sensor detector and
  136 , filed on Oct. 10 , 2012 , and entitled “ MAGNETIC        an electronic device controller for controlling an electronic
  EARPHONES HOLDER .” The U . S . provisional patent 20 device . In some embodiments, the system wirelessly com
  application. Application No . 61/601. 722. filed on Feb . 22 . municates with the electronic device . In some embodiments ,
  2012 , and entitled          “MAGNETIC EARPHONES                    the system further comprising an earbud engagement detec
  HOLDER ,” the U . S . provisional patent application , Appli        tor. In some embodiments, the touch sensor detector receives
  cation No. 61/671,572, filed on Jul. 13 , 2012 , and entitled       a signal from the touch sensor and sends a signal to the
  “MAGNETIC EARPHONES HOLDER .” and the U . S . pro - 25 electronic device controller. In some of these embodiments ,
  visional patent application , Application No. 61/712, 136 ,         the touch sensor detector sends a signal to the electronic
  filed on Oct. 10 , 2012, and entitled “MAGNETIC EAR          device controller that the touch sensor has been tapped,
  PHONES HOLDER ” are all also hereby incorporated by          double-tapped , or swiped . Particularly, the electronic device
  reference                                                    controller sends a signal to an electronic device to operate
                                                            30 the electronic device based upon the signal from the touch
                 FIELD OF THE INVENTION                        sensor detector. In some embodiments, the touch sensor
                                                               detector sends a signal to the electronic device to activate or
     The present invention relates to earphone holders. More deactivate the electronic device .
  particularly, the present invention relates to a magnetic       In one aspect, an audio system comprises a set of head
  earphone holder used to hold a set of earphones .         35 phones, a headphones controller , a first set of controls for
                                                               controlling a volume of transmitted audio played by the head
           BACKGROUND OF THE INVENTION                                phones , and a second set of controls for controlling a volume
                                                                      of external audio played by the headphones. In some
     Headset cords transmit signals from a source device , such   embodiments , the first set of controls and the second set of
  as a music player or cell phone , to earphones being worn by 40 controls comprise touch screen controls . In further embodi
  a user. Although these cords are typically flexible and can be ments , the first set of controls and the second set of controls
  maneuvered out of the way by the user, such manipulation            are a component of the headphones. In some embodiments ,
  by the user can be inconvenient, and often inefficient, as the the first set of controls comprises a first set of buttons and the
  cords regularly find their way back into an undesired loca -    second set of controls comprises a second set of buttons. In
  tion . Additionally , if not secured when not being used the 45 some embodiments , the transmitted audio comprises audio
  earphones often hang loose in an undesired and inconvenient received from an electronic device . The external audio
  location where they may be snagged or become tangled .              comprises surrounding ambient noise received from an
  Further, earphones are often moved back and forth from the          external microphone. In some of these embodiments , the
  ears of a user where they are transmitting a signal from the second set of controls control the volume level of ambient
  source device to the stored position as the user completes 50 noise received through the headphones . In some embodi
  tasks and moves around.                                       ments, the audio system comprises a noise canceling ele
                                                                ment.
              SUMMARY OF THE INVENTION                             In another aspect, a set headphones comprises a set of
                                                                      earphones for playing transmitted audio and external audio
    The present application is directed toward an earphones 55 and a microphone for receiving the external audio . In some
 holder used to affix a headset to clothing and/or other items. embodiments, first set of controls control the volume of
 Any set of earphones is able to be affixed , including a       transmitted audio played by the headphones and a second set
 headset for an iPod, iPhone , or any other similar cell phone of controls control the volume of external audio played by
 or MP3 or music player. The earphones holder comprises a the headphones . In some embodiments, the first set of
 magnet which removably couples with a magnetically 60 controls and the second set of controls comprise touch
  attractable portion of a set of earphones or an added magnet        screen controls . In some embodiments, the first set of
  feature built into or onto the earbud or cord or any feature        controls comprises a first set of buttons and the second set
  of the earbud or cord. The magnet is able to be designed into       of controls comprises a second set of buttons . In further
  or molded into a variety of items, including the handle of a        embodiments , the first set of controls and the second set of
  zipper, a buckle , and an item that can be sewn to , pinned to , 65 controls are a component of the headphones . In some
  or clipped to clothing, bags and other items. In some embodiments, the transmitted audio comprises audio
  embodiments, the earphones holder body further comprises            received from an electronic device . The external audio
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 29 of 43 PageID #: 374


                                                    US 9,769,556 B2
  comprises surrounding ambient noise received from the                FIG . 10B shows a close -up view of a magnetically
  external microphone . In some embodiments , the second set        attractable surface for removably coupling with a pair of
 of controls control the level of ambient noise played by the       earphones in accordance with some embodiments.
 headphones. In some embodiments , the headphones com                 FIG . 11 illustrates a magnetic earphones and cord holding
 prise a noise canceling element.                                5 system in accordance with some embodiments .
    In a further aspect, a method of operating a set of                FIGS. 12A and 12B illustrate a magnetic earphones and
 headphones comprises receiving transmitted audio from an           cord holding system in accordance with some embodiments.
 electronic device, receiving external audio from a micro              FIG . 13 illustrates a schematic view showing the compo
  phone of the headphones , and adjusting a volume level of nents of a magnetic earphones and cord holding system in
  one of the transmitted audio and the external audio . InIn some
                                                             some 10 acco
                                                                     accordance with some embodiments.
                                                                       FIG . 14 illustrates a method of activating and /or deacti
  embodiments , a first set of controls control the volume of vating an electronic device in accordance with some
  transmitted audio played by the headphones and a second set embodiments   .
  of controls control the volume of external audio played by
  the headphones . In some embodiments , the first set of 151 in FIG . 15 illustrates a magnetic earphones holding system
                                                                  accordance with some embodiments .
  controls and the second set of controls comprise touch         FIG . 16 illustrates a magnetic earphones holding system
  screen controls. In further embodiments, the first set of         in accordance with some embodiments .
  controls comprises a first set of buttons and the second set         FIG . 17 illustrates a magnetic earphones holding system
 of controls comprises a second set of buttons. In some in accordance with some embodiments .
 embodiments, the first set of controls and the second set of 20 FIG . 18 illustrates a magnetic earphones holding system
 controls are a component of the headphones.                    in accordance with some embodiments .
                                                                   FIGS. 19A - 19E illustrate a magnetic earphones holding
       BRIEF DESCRIPTION OF THE DRAWINGS                        system in accordance with some embodiments .
                                                                   FIG . 20 illustrates a magnetic earphones holding system
    FIG . 1 illustrates an embodiment of an earphones holder 25 in accordance with some embodiments.
  having a magnet built into the body of a zipper puller in           FIG . 21 illustrates a block diagram of a magnetic ear
  accordance with the principles of the present invention .         phones holding system in accordance with some embodi
     FIGS. 2A - B illustrate an embodiment of an earphones ments .
 holder having a magnet built into the surface of a plastic         FIG . 22 illustrates a magnetic earphones holding system
  shirt snap in accordance with the principles of the present 30 in accordance with some embodiments .
  invention .                                                          FIG . 23 illustrates a schematic view showing the compo
    FIGS . 3A - 3D illustrate an embodiment of an earphones         nents of a magnetic earphones and cord holding system in
  holder having a magnet built into a body of an adornment in       accordance with some embodiments .
  accordance with some embodiments .                                  FIG . 24 illustrates a method of activating and /or deacti
    FIG . 4 illustrates an embodiment of an earphones holder 35 vating an electronic device in accordance with some
 having a magnet built into a zipper puller in accordance with      embodiments .
 some embodiments .                                                    FIG . 25 illustrates a schematic view of an audio system in
    FIGS. 5A and 5B illustrate an embodiment of an ear              accordance with some embodiments .
  phones holder having a magnet built into a body coupled              FIG . 26 illustrates a set of headphones in accordance with
 with a sunglass lanyard in accordance with some embodi - 40 some embodiments .
 ments .                                                       FIG . 27 illustrates a method of operating a set of head
    FIGS. 5C - 5E illustrate an embodiment of an earphones phones in accordance with some embodiments .
 holder having a magnet built into a body coupled with a pair
 of sunglasses in accordance with some embodiments .                           DETAILED DESCRIPTION OF THE
    FIGS. 5F and 5G illustrate an embodiment of an ear - 45                             INVENTION
  phones holder having a magnet built into a body of a pair of
  sunglasses in accordance with some embodiments .                     The description below concerns several embodiments of
    FIGS . 6A and 6B illustrate an embodiment of an ear-            the invention . The discussion references the illustrated pre
  phones holder having a magnet built onto the front face of        ferred embodiment. However, the scope of the present
  a side squeeze buckle used on bags and packs in accordance 50 invention is not limited to either the illustrated embodiment,
 with the principles of the present invention .                     nor is it limited to those discussed , to the contrary , the scope
    FIGS. 6C and 6D illustrate an embodiment of an ear              should be interpreted as broadly as possible based on the
  phones holder having a magnet built into a releasable clip        language of the Claims section of this document.
  coupled to a sports helmet in accordance with some embodi            This disclosure provides several embodiments of the
 ments .                                                         55 present invention . It is contemplated that any features from
    FIGS . 7A and 7B illustrate an embodiment of an ear -           any embodiment can be combined with any features from
  phones holder having a magnet built into a body in accor -        any other embodiment. In this fashion , hybrid configurations
  dance with some embodiments.                                      of the illustrated embodiments are well within the scope of
    FIGS. 8A and 8B illustrate an embodiment of an ear              the present invention .
  phones holder having a magnet built into a piece of jewelry 60      Referring now to FIG . 1 , a first embodiment of an
  in accordance with some embodiments .                      earphones holder 100 is depicted therein . The earphones
    FIG . 9 illustrates an embodiment of an earphones holder        holder 100 comprises a magnet 110 embedded or molded
 having a magnet built into an identifying surface in accor- into a body 115 of a zipper puller 150 . The zipper puller 150
 dance with some embodiments .                               is configured to be coupled to a bag or an item of clothing,
    FIG . 10A illustrates an embodiment of an earphones 65 such as a jacket or shirt . In some embodiments , the body 115
 holder having a magnet and a groove built into a zipper is configured to act as a closure mechanism capable of
 puller in accordance with some embodiments .                releasably coupling a first portion of the bag or item of
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 30 of 43 PageID #: 375


                                                       US 9 ,769,556 B2
  clothing to a second portion of the bag or article of clothing .   dance with some embodiments . In some embodiments , the
  For example , in some embodiments , the body 115 comprises         adornment is an ornamental accessory having an aesthetic
  a channel ( not shown ) formed in opposing sidewalls in order      characteristic unrelated to its functional structure , such as
  to receive and releasably couple together zipper tracks of the     the star shape in FIGS . 3A - B and the moon shape in FIGS .
 bag or item of clothing. In some embodiments , a puller 140 5 3C - D . The buttons and zippers shown in the previous figures
  is coupled to the body 115 in order to facilitate the transla -    would not constitute an adornment since they do not have an
  tion of the body 115 along the portions of the bag or item of      aesthetic characteristic that is unrelated to their functional
  clothing to which it is attached .                                 structure . However, if they were modified to have a certain
    Themagnet 110 is molded or otherwise built into the body     aesthetic shape that was completely unrelated to their func
 115 . In some embodiments , the magnet 110 is encased or 10 tionality , then they could be considered an adornment.
 embedded within a plastic over mold which surrounds the            The adornment comprises a body 315 that is configured to
 puller 140. In some embodiments, one or more additional be releasably secured to a bag or an article of clothing, such
 magnets are coupled with the body 115 . The magnet 110 is       as shirt 360. In some embodiments, the body 315 comprises
 configured to receive and releasably secure a set of ear -      a pin 335 extending from its base . The pin 335 is configured
 phones 175 . As shown in FIG . 1 , in some embodiments , the 15 to penetrate the bag or item of clothing. In some embodi
 magnet 110 removably couples with the magnetically                  ments , one or more flanges 340 are disposed proximate the
  attractable parts of an earbud of the earphones 175 . In some       end of the pin 335 to facilitate the attachment of the
  embodiments, the earphones 175 and /or the cord 165 com -          adornment to the bag or article of clothing . In some embodi
  prises a magnet or magnetically attractable surface , which        ments , a clasp 345 having releases 350 is provided along
  removably couples with the magnet 110 . The earphones 20 with the adornment in order to provide a secure attachment
 holder 100 holds a set of earphones 175 connected to the            of the adornment to the bag or article of clothing.
 user ' s Ipod or other electronic device .                             Themagnet 310 is molded or otherwise built into the body
     FIGS. 2A -B illustrate an embodiment of an earphones 315 . The magnet 310 is configured to receive and releasably
  holder 200 with a magnetmolded into the surface of a plastic secure a set of earphones . In some embodiments , themagnet
  or metal snap fastener in accordance with further embodi- 25 310 removably couples with the magnetically attractable
 ments. It is contemplated that the snap fastener is capable of
                                                              parts of the earphones 375 (FIG . 3B ). In some embodiments ,
 being used on a shirt 260, as shown in FIG . 2B , or on another
                                                              the earphones 375 and /or the cord 365 comprises a magnet
  item of clothing or a bag .                                 or magnetically attractable surface , which removably
      The shirt snap comprises a male snap 235 and a female   couples with the magnet 310 . FIG . 3A shows the headset
  snap 245 that are configured to releasably couple to one 30 holder 300 attached to a user' s shirt 360 . The earphones
  another. For example , in some embodiments , the male snap  holder 300 holds a set of earphones 375 connected to the
  235 comprises a stud 240 that is configured to fit securely user 's Ipod 370 .
  into an aperture in the female snap 245 . The perimeter of the        Although FIG . 3D illustrates the body using a pin for
  aperture is defined by the inner circumference of the socket       attachment, it is contemplated that the body can employ
  lip 250 and the base 255 of the female snap 245 . In some 35 other means for releasably securing itself to a bag or an
  embodiments, the socket lip 250 extends farther towards the  article of clothing. For example , in some embodiments the
  aperture than the base 255 , and the end of the stud 240 has body utilizes a magnetic attachment in accordance with the
  a larger diameter than the base of the stud 240 . In this principles of the present invention .
  configuration , the end of the stud 240, when inserted into the       FIG . 4 illustrates an embodiment of an earphones holder
  aperture , snaps into place , and is secured from accidental 40 400 having a magnet molded into a body configured to be
  removal by the socket lip 250.                                  coupled to a zipper head in accordance with further embodi
    The shirt snap comprises a magnet 210 . In some embodi-          ments.
 ments , the magnet 210 is embedded within the male snap               As shown in FIG . 4 , the body 415 is coupled to the zipper
  235 or the female snap 235 . In other embodiments, the             head 450 . The earphones holder 400 comprises a puller 440
 magnet 210 is a distinct component that is attached to the 45 which is coupled to the body 415 . As shown in FIG . 4 , in
 male snap 235 or the female snap 245 . For example , FIG . 2A       some embodiments , the puller 440 is a cord which passes
  shows an exploded view of the headset holder 200 with the          through the center of the body 415 . In some embodiments
 magnet 210 separated from the male snap 235 . The magnet            the puller 440 is a cord which couples the body 415 with an
  210 comprises a body 215 that fits securely into an aperture  opening 480 . In some embodiments the body 415 comprises
  in themale snap 235 . In some embodiments , the magnet 210 50 one or more of wood , glass , and metal.
  (as a part of the snap fastener ) is configured to act as a     The body 415 comprises a magnet 410 . In some embodi
  closure mechanism capable of releasably coupling a first           ments, the magnet 410 is embedded within the body 415 . In
 portion of an item of clothing or a bag to a second portion         other embodiments , the magnet 410 is a distinct component
  of the article of clothing or bag .                            that is attached to the body 415 . As shown within FIG . 4 , the
     Themagnet 210 is molded or otherwise built into the body 55 magnet 410 is molded or otherwise built into the body 415 .
  215 . The magnet 210 is configured to receive and releasably    The magnet 410 is configured to receive and releasably
  secure a set of earphones. In some embodiments, the magnet secure a set of earphones . In some embodiments , the magnet
  210 removably couples with the magnetically attractable            410 removably couples with the magnetically attractable
 parts of the earphones 275 (FIG . 2B ) . In some embodiments, parts of the earphones 475 . In some embodiments , as shown
 the earphones 275 and/ or the cord 265 comprises a magnet 60 in FIG . 4 , the earphones 475 also comprise a magnet or
 or magnetically attractable surface , which removably               magnetically attractable surface 425 , which removably
 couples with the magnet 210 . FIG . 2B shows the headset             couples with the magnet 410 . In these embodiments , the
 holder 200 in use as a shirt snap fastener on a user 's shirt       magnet or magnetically attractable surface 425 is able to be
  260 . The earphones holder 200 holds a set of earphones 275
                                                            a component of the earphones 475 or the headset cord 465 .
  connected to the user' s Ipod 270 .                    65 In some embodiments , the magnet or magnetically
    FIGS. 3A - D illustrate earphone holders 300 and 305    attractable surface 425 is slidable along the earphones 475 or
  having a magnet 310 molded into an adornment in accor-             the headset cord 465 . However, as will be apparent to
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 31 of 43 PageID #: 376


                                                       US 9, 769,556 B2
  someone of ordinary skill in the art, the magnet or magneti-      to be located at any position along the ear piece 503. In some
  cally attractable surface 425 is able to be fixedly or remov      embodiments, the glasses frame 501 comprises one or more
  ably connected to the earphones 475 or the headset cord 465 .     additional magnets .
  As also shown in FIG . 4 , in some embodiments, the ear-             As further shown within FIGS . 5A -5G , the magnets are
 phones holder 400 comprises one or more additional mag - 5 configured to receive and releasably secure a set of ear
  nets 410 '. In some embodiments , a user is able to removably     phones. In some embodiments, the magnet 510 removably
  couple each side of the headset cord 465 or the earphones         couples with the magnetically attractable parts of the ear
  475 with a corresponding magnet. Alternatively , in some          phones 575 . In some embodiments , as shown in FIG . 5G , the
  embodiments, a user is able to couple both sides of the           earphones 575 also comprises a magnet or magnetically
 headset cord 465 or earphones 475 with only one of the 10 attractable surface 525 , which removably couples with the
 magnets .                                                          magnet 510 . In these embodiments , the magnet or magneti
   FIGS. 5A -5E illustrate an earphone holder 500 in accor-          cally attractable surface 525 is able to be a component of the
  dance with further embodiments . As shown in FIGS. 5A and         earphones 575 or the headset cord 565 . In some embodi
  5B , in some embodiments , the earphone holder 500 com - ments , the magnet or magnetically attractable surface 525 is
  prises a body 515 having a magnet 510 molded into it. The 15 slidable along the earphones 575 or the headset cord 565 .
 body 515 is configured to be coupled to a lanyard for sun or       However , as will be apparent to someone of ordinary skill in
  prescription glasses. In some embodiments, the lanyard 570        the art, themagnet or magnetically attractable surface 525 is
  passes through an opening 580 within the body 515 . How           able to be fixedly connected to the earphones 575 or the
 ever, the body 515 is able to couple with the lanyard through  headset cord 565 . In some embodiments, a user is able to
 a clip or any other mechanism as known in the art. As shown 20 removably couple each side of the headset cord 565 or the
 in FIGS. 5A and 5B , each side of the lanyard comprises a      earphones 575 with a corresponding magnet. Alternatively ,
 body 515 of a headset cord holder 500 . However, in some in some embodiments , a user is able to couple both sides of
  embodiments, the earphone holder 500 is only coupled to           the headset cord 565 or earphones 575 with only one of the
  one side of the lanyard 570 . In some embodiments , the body magnets .
  515 of the earphone holder 500 comprises one or more of 25 FIGS. 6A - B illustrate one embodiment of an earphones
  molded plastic , hard plastic , foam and rubber. In some          holder 600 having a magnetmolded onto the front face of a
  embodiments , the body 510 of the headset cord holder             side squeeze buckle used on bags and packs in accordance
  comprises one or more of wood , glass , and metal.           with some embodiments . FIGS. 6A and 6B show a plan view
   As shown in FIGS. 5C -5E , in some embodiments , the and a side view of the cord holder 600 , respectively.
 body 515 ' and the body 515 " is configured to be removably 30 The side squeeze buckle comprises a female buckle end
  coupled with a glasses frame 501. In some embodiments , an        615 coupled to a buckle strap or webbing 640 and a male
  opening 580 within the body 515 ' and the body 515 " is slid      buckle end 635 coupled to a buckle strap or webbing 645 .
  onto an ear piece 503 of the glasses frame 501 . Accordingly ,    The female buckle end 615 is configured to receive and
  a user is able to slide the body 515 ' and the body 515 " until   releasably hold the male buckle end 635 . In some embodi
  a desired configuration along the ear piece 503 is found . As 35 ments, either the female buckle end 615 or the male buckle
 will be apparent to someone of ordinary skill in the art, the end 635 comprises a magnet 610 . In some embodiments , the
 body 515 and the body 515 " is able to couple with the magnet 610 protrudes from either the female buckle end
  glasses frame 501 by any mechanism as known in the art . 615 , as seen in FIGS. 6A and 6B , or the male buckle end
 For example, in some embodiments , the body 515 ' and the 635 . In some embodiments , the magnet 610 does not pro
 body 515 " couples with the glasses frame 501 by one or 40 trude from the rest of the buckle end , but rather is flush with
 more of a hook and loop fastening system and a clip . The     the rest of the buckle end. Additionally , in some embodi
  glasses frame 501 is able to comprise sun and prescription        ments , the magnet 610 is integrally formed with the buckle
  glasses or a combination of the two. In some embodiments ,        end , while in other embodiments , the body is a separate
  the body 515 ' and the body 515 " of the earphones holder         component that is attached to the buckle end . In some
  comprises one or more of molded plastic , hard plastic , foam 45 embodiments , the earphones holder 600 is configured to act
  and rubber. In some embodiments , the body 515 ' and the          as a closure mechanism capable of releasably coupling a first
 body 515 " of the earphones holder comprises one or more of        strap , and any item to which the first strap is attached , to a
 wood , glass , and metal.                                          second strap, and any item to which the second strap is
   As shown in FIG . 5D , in some embodiments , the magnet attached . For example , in some embodiments, the magnet is
 510 is oriented vertically along the body 515 '. Alternatively, 50 part of a female buckle end 615 that is coupled to a first
 as shown within FIG . 5E , in some embodiments, the magnet         portion of a bag via a strap 640 . The female buckle end 615
 510 is oriented horizontally along the body 515 " . In some        mates with a male buckle end 635 . The male buckle end 635
 embodiments, the body 515 ' and 515 " comprises one or             is coupled to a second portion of the bag via a strap 645 .
 more additional magnets 510'.                                         The magnet 610 is configured to receive and releasably
    FIGS. 5F and 5G show an earphone holder comprising a 55         secure a set of earphones . In some embodiments , the magnet
  body and a magnetwithin the body that directly receives and       610 removably couples with the magnetically attractable
  releasably secures a headset cord . In some embodiments, the      parts of the earphones . In some embodiments, the earphones
 magnet 510 is built into the glasses frame 501 .                   also comprise a magnet or magnetically attractable surface ,
    As shown within FIGS. 5F and 5G , in some embodiments           which removably couples with the magnet 610 . In these
 the magnet 510 is built into the top of an ear piece 503 of the 60 embodiments , the magnet or magnetically attractable sur
  glasses frame 501. Alternatively, in some embodiments, as face is able to be a component of the earphones or the
  shown in FIGS. 5F and 5G , in some embodiments , the              headset cord . In some embodiments, the magnet or mag
 magnet 510 is built into a side of the earpiece 503 of the netically attractable surface is slidable along the earphones
  glasses frame501. In some embodiments , the magnet510 is         or the headset cord . However, as will be apparent to some
 oriented vertically along the ear piece 503. Alternatively, in 65 one of ordinary skill in the art, the magnet or magnetically
  some embodiments , themagnet 510 is oriented horizontally         attractable surface is able to be fixedly connected to the
 along the ear piece 503. Particularly, the magnet 510 is able      earphones or the headset cord . In some embodiments, the
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 32 of 43 PageID #: 377


                                                     US 9, 769,556 B2
                                                                                                10
 earphones holder 600 comprises one or more additional              phones. In some embodiments , the earphones also comprises
 magnets . In some embodiments , a user is able to removably        a magnet or magnetically attractable surface , which remov
 couple each side of the headset cord or the earphones with         ably couples with the magnet 710. In these embodiments ,
  a corresponding magnet. Alternatively , in some embodi- the magnet or magnetically attractable surface is able to be
 ments, a user is able to couple both sides of the headset cord 5 a component of the earphones or the headset cord . In some
 or earphones with only one of the magnets.                       embodiments , the magnet or magnetically attractable sur
    FIGS . 6C and 6D illustrate a headset cord holder 600 in      face is slidable along the the earphones or the headset cord .
 accordance with yet further embodiments . As shown in            However    , as will be apparent to someone of ordinary skill in
  FIGS. 6C and 6D , the headset cord holder 600 comprises a       the art, the magnet or magnetically attractable surface is able
 body having a magnet 610 molded into the front face of a 10 to be fixedly connected to the earphones or the headset cord .
 releasable clip or side squeeze buckle as described in            In some embodiments , the earphones holder 700 comprises
 relation to FIGS. 6A and 6B . The releasable clip is config
 ured to be attached to a sports helmet.                           one or more additional magnets . In some embodiments, a
    Each end of the releasable clip 615 , 635 is coupled by a user is able removably couple each side of the headset cord
 strap 645 . 640 to a sports helmet. As shown in FIG . 6D . the 15 or the earphones with a corresponding magnet. Alterna
 releasable clip is coupled to a bicycle helmet 660 . However, tively, in some embodiments, a user is able to couple both
 the releasable clip is able to be coupled to any sports helmet sides of the headset cord or earphones with only one of the
 as known in the art. For example, in some embodiments the magnets .
 releasable clip is coupled to one or more of a skiing helmet.        FIGS. 8A and 8B illustrate an earphones holder 800 in
 bicycle helmet, motorcycle helment or other sports helment. 20 accordance with some embodiments. The headset cord
     A magnet 610 is built or otherwise embedded within the         holder 800 comprises a body 815 having a magnet 810
  releasable clip . Themagnet 610 is configured to receive and      molded or built into the body which is a portion of a piece
  releasably secure a set of earphones. In some embodiments,        of jewelry 870 .
  the magnet 610 removably couples with the magnetically               In some embodiments, the portion of jewelry is config
  attractable parts of the earphones . In some embodiments , the 25 ured to be coupled to at least an additional article . For
  earphones also comprises a magnet or magnetically                 example , as shown in FIGS. 8A and 8B , the body 815
  attractable surface , which removably couples with the mag        comprises a bead of jewelry 860 in a strand of beads
  net 610. The magnet 610 is configured to receive and              comprising a necklace 870. In some embodiments, the piece
 releasably secure a set of earphones . In some embodiments,        of jewelry is one or more of a broach , earrings , bracelet or
  the magnet 610 removably couples with the magnetically 30 sunglass lanyard . However, the body is able to bemolded or
  attractable parts of the earphones . In some embodiments, the     built into any piece of jewelry as known in the art. Alter
 earphones also comprise a magnet or magnetically                   natively , in some embodiments one or more additional
 attractable surface , which removably couples with the mag-       magnets are able to bemolded in to the body or other portion
 net 610 . In these embodiments , the magnet or magnetically        of the piece of jewelry .
 attractable surface is able to be a component of the ear - 35 As shown within FIGS . 8A and 8B , the magnet 810 is
 phones or the headset cord . In some embodiments, the        configured to receive and releasably secure a set of ear
 magnet or magnetically attractable surface is slidable along phones. In some embodiments, the magnet 810 removably
  the earphones or the headset cord . However , as will be          couples with the magnetically attractable parts of the ear
  apparent to someone of ordinary skill in the art, the magnet      phones . In some embodiments , the earphones also comprises
  or magnetically attractable surface is able to be fixedly 40 a magnet or magnetically attractable surface , which remov
  connected to the earphones or the headset cord . In some          ably couples with the magnet 810 . In these embodiments ,
  embodiments, the earphones holder 600 comprises one or            the magnet or magnetically attractable surface is able to be
 more additional magnets . In some embodiments , a user is          a component of the earphones or the headset cord . In some
  able removably couple each side of the headset cord or the        embodiments , the magnet or magnetically attractable sur
  earphones with a corresponding magnet. Alternatively , in 45 face is slidable along the earphones or the headset cord .
  some embodiments , a user is able to couple both sides of the However, as will be apparent to someone of ordinary skill in
 headset cord or earphones with only one of the magnets .       the art, themagnet or magnetically attractable surface is able
    FIGS. 7A and 7B illustrate a headset cord holder 700 in     to be fixedly connected to the earphones or the headset cord .
 accordance with further embodiments .                          In some embodiments , the earphones holder 800 comprises
    As shown in FIGS. 7A and 7B , a body 715 comprising a 50 one or more additional magnets . In some embodiments , a
 magnet 710 is coupled to a sternum strap 720 of a backpack     user is able to removably couple each side of the headset
  705 . In some embodiments , the magnet 710 is coupled to an      cord or the earphones with a corresponding magnet. Alter
  arm strap of a backpack 705 . However, the body 715 is able      natively, in some embodiments, a user is able to couple both
  to couple to any portion of the backpack 705 as known in the     sides of the headset cord or earphones with only one of the
  art. In some embodiments , the body 715 removably couples 55     magnets .
  with the sternum strap 715 of the backpack 705 . In some            As described above, in FIGS. 8A and 8B , the body 815
  embodiments, the body 715 removably couples with the              comprises a bead of jewelry 860 in a strand of beads
  sternum strap 715 by one or more of a hook and loop               comprising a necklace 870 . In some embodiments , the piece
  fastening system and snaps. However, the body 715 is able   of jewelry is one or more of a broach , earrings, bracelet or
  to removably couple with the backpack 705 by any mecha - 60 sunglass lanyard . However, the body is able to be molded or
  nism as known in the art . In some embodiments , the body built into any piece of jewelry as known in the art. Alter
  715 is able to additionally couple with one or more of a    natively , in some embodiments one or more additional
  lumbar pack , a sports bag , and an arm band .                   magnets is able to be molded in to the body or other portion
     As shown within FIGS. 7A and 7B , the magnet 710 is       of the piece of jewelry .
  configured to receive and releasably secure a set of ear - 65 FIG . 9 illustrates an embodiment of an earphones holder
  phones. In some embodiments , the magnet 710 removably having a magnet built into an identifying surface in accor
  couples with the magnetically attractable parts of the ear        dance with some embodiments .
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 33 of 43 PageID #: 378


                                                      US 9,769,556 B2
                               I                                                                   12
     The earphones holder 900 comprises a body 901 having                 FIG . 10A illustrates an embodiment of an earphones
  a magnet 910 molded or built into the body 901 which is a            holder having a magnet and a groove built into a zipper
 portion of an identifying surface 960. The body 901 is                puller in accordance with some embodiments.
  configured to be coupled to at least an additional article . In As shown in FIG . 10A , the body 1001 is coupled to the
  some embodiments , the body 901 comprises one or more of 5 zipper head 1050. The earphones holder 1000 comprises a
 rubber, plastic and metal. The body 901 is configured to puller 1040 which is coupled to the body 1001 . In some
  attach to an additional article by one or more of stitching , embodiments , the puller 1040 is a cord which passes through
 riveting, heat pressing, adhesive attachment, or chemical pullerthe center of the body 1001. In some embodiments, the
 method. In some embodiments , the body 901 comprises      an 10 opening1040
                                                       itional
                                                                             is a cord which couples the body 1001 with an
                                                                          1080 . In some embodiments, the body 1001 com
 additional surface 915 which attaches to the additional prises one or more          of wood , glass, and metal.
 article .                                                          The body 1001 comprises a magnet 1010 . In some
     The magnet 910 is configured to receive and releasably embodiments, the magnet 1010 is embedded within the body
 secure a set of earphones . In some embodiments, the magnet     1001. In other embodiments, the magnet 1010 is a distinct
 910 removably couples with the magnetically attractable 15 component
                                                                 com         that is attached to the body 1001. As shown
  parts of the earphones . In some embodiments , the earphones         within FIG . 10A , the magnet 1010 is molded or otherwise
  also comprises a magnet or magnetically attractable surface ,        built into the body 1001. The magnet 1010 is configured to
 which removably couples with the magnet 910 . In these receive and releasably secure a set of earphones 1075 . In
 embodiments , the magnet or magnetically attractable sur      some embodiments , the magnet 1010 removably couples
  face is able to be a component of the earphones or the 20 with the magnetically attractable parts of the earphones
 headset cord . In some embodiments, the magnet or mag -       1075 . In some embodiments, as shown in FIG . 10A , the
 netically attractable surface is slidable along the earphones earphones 1075 comprise a magnet or magnetically
 or the headset cord . However, as will be apparent to some    attractable surface 1085 coupled to the earphones , which
 one of ordinary skill in the art, the magnet or magnetically  affixes the earbud to themagnet 1010 built into or embedded
  attractable surface is able to be fixedly connected to the 25 within the body 1001 . In these embodiments , the magnet or
  earphones or the headset cord . In some embodiments , the magnetically attractable surface 1085 is able to be a com
 earphones holder 900 comprises one or more additional                 ponent of the earphones 1075 or the headset cord 1065 . In
 magnets. In some embodiments, a user is able to removably             some embodiments, the magnet or magnetically attractable
  couple each side of the headset cord or the earphones with           surface 1085 snaps or removably couples around the ear
 a corresponding magnet. Alternatively , in some embodi- 30 phones 1075 . In some embodiments, the magnet or mag
 ments, a user is able to couple both sides of the headset cord netically attractable surface 1085 is slidable along the ear
 or earphones with only one of the magnets .                           phones 1075 or the headset cord 1065 . As will be apparent
     As described above , the body 901 comprises a portion of          to someone of ordinary skill in the art, the magnet or
  an identifying surface 960 and is configured to be coupled to        magnetically attractable surface 1085 is able to be fixedly or
  an additional article . Particularly , the identifying surface is 35 removably connected to the earphones 1075 or the headset
  able to be coupled to an appropriate article as known in the         cord 1065 .
  art. For example , in some embodiments the identifying                  As also shown in FIG . 10A , a groove 1020 is molded or
  surface 960 is coupled to a bag or an item of clothing . otherwise built into the body 1001. The groove 1020 is
  Alternatively, in some embodiments , the identifying surface configured to receive and releasably secure the headset cord
  960 is coupled to an accessory item such as a key chain or 40 1065 . In some embodiments , the groove 1020 is defined by
 armband . In some embodiments one or more additional                  a groove wall 1030 that surrounds most of the groove 1020 ,
 magnets is able to be molded into the body 901 or other               leaving only an entry space through which the cord 1065 can
 portion of the identifying surface 960 .                              access the groove 1020 . In some embodiments , the entry
    As further shown in FIG . 9 , a groove 920 is molded or            space has a smaller diameter than the groove 1020 and the
  otherwise built into the body 901 . The groove 920 is 45 cord 1065 , thereby securing the cord within the confines of
 configured to receive and releasably secure a headset cord .          the groove wall 1030 and requiring a significant amount of
 In some embodiments, the groove 920 is defined by a groove            force for its removal. In some embodiments , portions of the
 wall 930 that surrounds most of the groove 920 , leaving only         groove wall 1030 are flexible so that as the cord is pushed
 an entry space 935 through which the cord can access the              through the entry space , the cord is able to force the groove
  groove 920 . In some embodiments , the entry space 935 has 50 wall 1030 out of its way and temporarily increase the
  a smaller diameter than the groove 920 and the cord , thereby        diameter of the entry space so that the cord can pass through
  securing the cord within the confines of the groove wall 930         the entry space into the groove 1020 . In some embodiments ,
  and requiring a significant amount of force for its removal.         the groove wall 1030 is substantially rigid , thereby forcing
  In some embodiments, portions of the groove wall 930 are             the outer sleeve of the cord to constrict as it passes through
  flexible so that as the cord is pushed through the entry space 55 the entry space between the ends of the groove wall 1030 .
  935 , the cord is able to force the groove wall 930 out of its          FIG . 10B shows a close -up view of the magnetically
 way and temporarily increase the diameter of the entry space          attractable surface 1085 , in accordance with some embodi
 935 so that the cord can pass through the entry space 930             ments . Themagnetically attractable surface 1085 removably
 into the groove 920 . In some embodiments, the groove wall            couples with the earphones 1075 or the headset cord 1065 in
 930 is substantially rigid , thereby forcing the outer sleeve of 60   order to removably couple the earphones with the magnet
  the cord to constrict as it passes through the entry space 935        1010 as described above . As shown within FIG . 10B , the
 between the ends of the groove wall 930 .                             magnetically attractable surface 1085 comprises a substan
    By incorporating a magnet and a groove into the surface            tially circular body that fits around the earphones 1075 . In
  of the body 901 a user is able to releasably secure a headset        some embodiments , the magnetically attractable surface
  cord in the groove 920 while utilizing the earphones and 65 1085 is stretchable and stretches to fit over the earphones
  then magnetically secure the earphones to the body 901               1075 . In some embodiments , the magnetically attractable
  when not in use .                                                    surface 1085 comprises a hinge or coupler 1087 which
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 34 of 43 PageID #: 379


                                                         US 9,769,556 B2
                                 13                                                                14
  enables the magnetically attractable surface 1085 to be              one or more recesses 1115 . In some embodiments , the
  opened and coupled around the earphones 1075. In some                earphones holder body 1101 comprises a body comprising a
  embodiments, the magnetically attractable surface 1085 is            zipper puller , a snap fastener, an adornment, a buckle
  able to be opened at coupler 1087 and then placed around the         attachment, or an item of jewelry and a magnet built into or
  earphones 1075 and snap fit back into place. In some 5 embedded within the body . Particularly , the earphones
  embodiments, the magnetically attractable surface 1085               holder body 1101 is able to comprise a cord holder as
 comprises two pieces which are separated in order to remov -          described in U .S . patent application Ser . No. 12 /891,510 ,
 ably couple the magnetically attractable surface 1085 with            filed on Sep . 27 , 2010 and /or a earphones holder as
  the earphones 1075 . Particularly , the magnetically                 described in U .S . Provisional Patent Application No .
  attractable surface 1085 is able to removably couple with the 10 61/601, 722, filed on Feb . 22, 2012 , which are both hereby
  earphones 1075 by any appropriate mechanism as known in          incorporated by reference . In some embodiments , the set of
  the art. Additionally, although the magnetically attractable earphones 1150 is a component of a hands free telephone
  surface 1085 is shown with a circular body, the magnetically         adapter.
  attractable surface is able to comprise any appropriate shape           The groove 1120 is molded or otherwise built into the
  for coupling with the earphones 1075 .                       15 earphones body 1101. The groove 1120 is configured to
     In some embodiments , a user is able to place the headset    receive and releasably secure a headset cord 1165 . In some
  cord 1065 within the groove 1020 and then removably             embodiments , the groove 1120 is defined by a groove wall
  couple the magnet or magnetically attractable surface 1085           1122 that surrounds most of the groove 1120 , leaving only
  of the earphones 1075 with the magnet 1010 .          an entry space 1124 through which the cord 1165 can access
     In some embodiments, a shape of the one or more 20 the groove 1120 . In some embodiments , the entry space
 magnets as described above is selected from a set compris -           1135 has a smaller diameter than the groove 1120 and the
  ing a strip , a ball bearing and a disc . In further embodiments ,   cord 1165 , thereby securing the cord 1165 within the con
  at least one of the one or more magnets comprise one or              fines of the groove wall 1122 and requiring a significant
 more of a neodymium magnet and a ceramic magnet.               amount of force for its removal. In some embodiments ,
    In operation , a user places a headset cord within the 25 portions of the groove wall 1122 are flexible so that as the
  confines of the groove wall while using the headset to listen cord 1165 is pushed through the entry space 1124 , the cord
 to an electronic device . This enables a user to comfortably          1165 is able to force the groove wall 1122 out of its way and
 utilize the headset without becoming entangled within the             temporarily increase the diameter of the entry space 1135 so
 cord . Then , when not listening to the electronic device , a         that the cord 1165 can pass through the entry space 1124 into
 user places a set of earphones near to the magnet in order to 30      the groove 1120 . In some embodiments , the groove wall
 allow the earphones to magnetically attract to and be held by         1122 is substantially rigid , thereby forcing the outer sleeve
  the magnet. This enables the user to place the earphones in          of the cord 1165 to constrict as it passes through the entry
  a convenient location when using the earphones and also              space 1124 between the ends of the groove wall 1122 .
 when not in use . By doing so , a user is able to safely secure         By incorporating a magnet and a groove into the surface
 the earphones rather than letting them dangle where they 35 of the earphones holder body 1101 , a user is able to
 may become entangled or snagged by the user. Conse - releasably secure a headset cord 1165 in the groove 1120
  quently, the earphones holder has the advantage of providing         while utilizing the earphones 1150 and then magnetically
 an inexpensive and easy way to hold a headset cord in a       secure the earphones 1150 to the earphones holder body
 comfortable and convenient position while utilizing an elec - 1101 when not in use . The one or more magnetically
 tronic device . Accordingly , the headset cord holder 40 attractable surfaces 1110 are able to be fixedly or removably
 described herein has numerous advantages .                    connected to the earphones holder body 1101.
    Referring now to FIG . 11 , an embodiment of a magnetic              As described above, the one or more magnetically
  earphones and cord holding system is depicted therein . The          attractable surfaces 1110 are configured for removably cou
 magnetic earphones and cord holding system 1100 com -                 pling with the one or more magnets 1185 of the earphones
 prises an earphones holder body 1101 and a set of earphones 45 1150 . In some embodiments , when the one or more magnets
  1150 . The set of earphones 1150 transmits a signal from an          1185 are removably coupled with the one or more magneti
  electronic device 1105 such as an iPod , iPhone, any other           cally attractable surfaces 1110 , the body of the earbud 1175
  similar cellular phone or smart phone, MP3 or music player,          is placed within the one or more recesses 1115 . In some
 movie player, or other electronic device 1105 . As will be            embodiments , the one or more recesses 1115 and the body
  apparent to someone of ordinary skill in the art, the set of 50 of the earbud 1175 comprise interlocking geometry . In these
  earphones 1150 is able to transmit a signal from any appro -         embodiments , the body of the earbud 1175 is press fit or snap
  priate electronic device 1105 as known in the art. For               fit into the one or more recesses of the earphones holder
  example , in some embodiments, the set of earphones 1150             body 1101 .
  transmits a signal from an electronic media player such as an            The electronic device controller 1140 receives a signal
  iPad , smart phone, tablet PC , Mp4 player, or DivX Media 55 from the earbud engagement detector 1130 and sends a
  format player.                                               signal to the electronic device activation circuit 1155 based
     The earphones holder body 1101 comprises a groove 1120 upon the signal received from the earbud engagement detec
  for receiving and releasably securing a headset cord 1165 , tor 1130 . The electronic device activation circuit 1155
  one or more magnetically attractable surfaces 1110 for     operates an electronic device 1105 based upon the signal
  removably coupling with one or more magnets 1185 of the 60 received from the controller 1140 . In some embodiments ,
  set of earphones 1150 , and an electronic device controller          the earbud engagement detector 1130 sends a signal to the
  1140 . In some embodiments , the one or more magnetically            controller 1140 that the one or more magnets 1185 and the
  attractable surfaces 1110 are magnets. In some of these              earbud 1175 have been decoupled from the earphones holder
  embodiments, the magnets are neodymium magnets . In                  body 1101 . In these embodiments , upon receiving the signal
  further embodiments, the earphones holder body 1101 com - 65 from the earbud engagement detector 1130 , the controller
  prises one or more recesses 1115 for holding an earbud 1175 . 1140 sends a signal to the electronic device activation circuit
  In some embodiments , the earbud 1175 is press fit into the          1155 to activate the electronic device 1105 . In some embodi
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 35 of 43 PageID #: 380


                                                       US 9, 769,556 B2
                                 15                                                                 16
 ments , the earbud engagement detector 1130 sends a signal          electronic device controller ( not shown ). As shown in FIGS .
  to the controller 1140 that the one or more magnets 1185 and        12A and 12B , the first body 1201 comprises a coupling
 the earbud 1175 have been coupled with the earphones                mechanism 1203 and the second body 1202 comprises a
 holder body 1101. In these embodiments, upon receiving the coupling mechanism 1205 . The coupling mechanisms 1203
 signal from the earbud engagement detector 1130 , the con - 5 and 1205 enable the first body 1210 and the second body
 troller 1140 sends a signal to the electronic device activation  1202 to couple together. In some embodiments , the coupling
 circuit 1155 to deactivate the electronic device 1105 .         mechanisms 1203 and 1205 comprises a snap , a button, or
    In further embodiments , the electronic device controller    a hook and loop fastening system . However, the coupling
  1140 sends a signal to electronic device activation circuit mechanisms 1203 and 1205 are able to comprise any appro
  1155 to operate the electronic device 1105 in another man - 10 priate coupling mechanisms as known in the art . In some
 ner. For example , in some embodiments, upon receiving the           embodiments, the second body 1202 comprises a button , a
  signal from the earbud engagement detector 1130 , the con -         snap , a zipper, or an adornment .
  troller 1140 sends a signal to the electronic device activation       FIG . 13 illustrates a schematic view showing the compo
  circuit 1155 to adjust the volume of the signal from the nents of a magnetic earphones and cord holding system in
  electronic device 1105 . Additionally, in some embodiments, 15 accordance with some embodiments. As shown in FIG . 13 ,
  the controller 1140 is able to send a signal to the electronic      the magnetic earphones and cord holding system 1300
  device activation circuit 1155 in order to pause the signal of       comprises an earbud engagement detector 1330 , an elec
  an application or a program being transmitted by the elec          t ronic device controller 1340, and an electronic device
  tronic device 1105 . Particularly , the controller 1140 is able activation circuit 1355 . As described above , the earbud
  to send any appropriate signal to the electronic device 20 engagement detector 1330 detects an engagement of the
  activation circuit 1155 in order to operate the electronic          earbud 1175 (FIG . 11 ) with the one ormore magnets 1110 .
  device 1105 .                                                       The earbud engagement detector 1330 sends a signal to the
     Themagnetic earphones and cord holding system 1100 is            electronic device controller 1340 based upon the engage
 able to send a signal to activate and/ or deactivate an elec - ment status of the earbud . The electronic device controller
 tronic device 1105 such as a cell phone. For example , if the 25 1340 processes the signal it receives from the earbud
 user ' s phone rings , the user is able to remove the set of engagement detector 1330 and sends a signal to the elec
 earphones 1150 from the earphones holder body 1101 and a         tronic device activation circuit 1355 which operates an
 signal is sent to answer the phone and connect the call.         electronic device in a manner dependent upon the signal
  Likewise , if the user is on a call and the set of earphones        from the electronic device controller 1340 . In some embodi
  1150 are coupled with the earphones holder body 1101 , a 30 ments , the electronic device controller 1340 sends a signal
  signal is sent to hang up the phone and terminate the call  to the electronic device activation circuit 1355 to activate the
  Similarly, the magnetic earphones and cord holding system           electronic device. In some embodiments , the electronic
  1100 is able to send a signal to start, resume, or stop an          device controller 1340 sends a signal to the electronic device
  electronic device such as an electronic media player or             activation circuit 1355 to deactivate the electronic device .
  gaming device . For example , if a user needs to interrupt 35         FIG . 14 illustrates a method of operating a set of ear
  playing a video game, playing music , playing a movie, or          phones in accordance with some embodiments .
  other media stream , the user is able to couple the set of            As shown in FIG . 14 , at the step 1404 an engagement
  earphones 1150 with the holder body 1101 in order to pause         status of an earbud is detected . In some embodiments, it is
  the electronic device 1105 . Then , when the user desires to        detected whether or not the earbud is coupled with an
  resume using the electronic device 1105 , the user is able to 40 earphones holder body . Then , based upon the engagement
  decouple the earphones 1150 from the holder body and send        status of the earbud , at the step 1406 , a signal is sent to
  a signal and unpause the electronic device 1105 . In this           operate the electronic device . In some embodiments, the
 manner , the user is able to use the magnetic earphones and          signal is one or more of an infrared , infrared laser, radio
  cord holding system 1100 to operate , activate and/or deac          frequency , wireless , WiFi, and Bluetooth® signal. In some
  tivate any programs or applications that are running on the 45 embodiments , the signal is a wired signal. In some embodi
  electronic device 1105 .                                           ments, the signal is a signal to turn off or to turn on the
     In some embodiments , the signal sent by the electronic         electronic device .
 device controller 1140 to the electronic device activation             FIG . 15 illustrates a magnetic earphones holding system
  circuit 1155 and the signal sent by the electronic device           in accordance with further embodiments . The magnetic
 activation circuit 1155 to the electronic device 1105 com - 50 earphones holding system 1500 comprises an earphones
 prise one or more of infrared , infrared laser, radio frequency ,   holder body 1501 and a set of earphones 1550 . The set of
 wireless, WiFi, and Bluetooth® . However, the signal sent by        earphones 1550 transmits a signal from an electronic device
 the electronic device controller 1140 and the electronic             1505 such as an iPod , iPhone, any other similar cellular
 device activation circuit 1155 are able to comprise any             phone or smart phone, MP3 or music player, movie player,
 wireless signal as known in the art. Alternatively , in some 55 or other electronic device 1505 . As will be apparent to
 embodiments , the signal sent by the electronic device con -    someone of ordinary skill in the art, the set of earphones
 troller 1140 and the electronic device activation circuit 1155       1550 is able to transmit a signal from any appropriate
 comprise a wired signal.                                             electronic device 1505 as known in the art. For example , in
    FIGS. 12A and 12B illustrate a side view of a magnetic            some embodiments, the set of earphones 1550 transmits a
 earphones and cord holding system formed in two parts . The 60       signal from an electronic media player such as an iPad ,
 magnetic earphones and cord holding system 1200 com -                smart phone , tablet PC , Mp4 player , or DivX Media format
 prises a first body 1201 and a second body 1202 . The first          player.
 body 1201 is substantially similar to the earphones holder              The earphones holder body 1501 is in the shape of a
 body 1101 as discussed in relation to FIG . 11 and comprises         zipper puller and comprises one or more magnetically
  a groove (not shown ) for receiving and releasably securing 65 attractable surfaces 1510 for removably coupling with one
  a headset cord, one or more magnetically attractable surfaces or more magnets 15815 of the set of earphones 1550, and an
  1110, an earbud engagement detector (not shown ), and an            electronic device controller 1540 . In some embodiments, the
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 36 of 43 PageID #: 381


                                                     US 9 ,769,556 B2
                          17                                                                      18
 one or more magnetically attractable surfaces 1510 are             1650 and snap fit back into place. In some embodiments, the
 magnets . In some of these embodiments , the magnets are          magnetically attractable surface 1685 comprises two pieces
 neodymium magnets. In some embodiments , the holder               which are separated in order to removably couple the
  body 1501 comprises a plurality of magnetically attractable magnetically attractable surface 1685 with the earphones
  surfaces 1510 . In some embodiments , the earphones holder 5 1650. Particularly , the magnetically attractable surface 1685
  body 1501 comprises a body comprising a snap fastener, an is able to removably couple with the earphones 1650 by any
  adornment, a buckle attachment, or an item of jewelry and appropriate mechanism as known in the art. Additionally,
  a magnet built into or embedded within the body. In some          although the magnetically attractable surface 1685 is shown
  embodiments, the earphones holder body 1501 further com
  prises a groove as described in relation to FIG . 1. In some 10 with
                                                                  able
                                                                        a circular body , the magnetically attractable surface is
                                                                       to comprise any appropriate shape for coupling with the
  embodiments , the set of earphones 1550 is a component of         earphones 1650 . As further shown in FIG . 16 , the earbud
 a hands free telephone adapter.                                    engagement detector 1630 and the electronic device con
    Using the one or more magnet 1585 of the earphones
 1550, a user is able to couple the earphones 1550 with the         troller 1640 are components of the earphones 1650 .
 one or more magnetically attractable surfaces 1510 of the 15         - In further embodiments , the earbud engagement detector
 earphones holder body 1501 when not in use . The one or            1730 ( FIG . 17 ) is a component of an earbud 1775 and sends
 more magnetically attractable surfaces 1510 are able to be         a signal to a electronic device controller 1740 incorporated
 fixedly or removably connected to the earphones holder             into a separate body 1701.
  body 1501. In some embodiments, the holder body 1501                FIG . 17 illustrates a magnetic earphones holding system
  further comprises one or more recesses for interlocking with 20 in accordance with further embodiments. The magnetic
  the earbud 1575 . In these embodiments , the body of the          earphones holding system 1700 comprises an earphones
  earbud 1575 is press fit or snap fit into the one or more        holder body 1701 and a set of earphones 1750 . The set of
  recesses of the earphones holder body 1501.                      earphones 1750 transmits a signal from an electronic device
     As further shown in FIG . 15 , the earphones holder body      1705 such as an iPod , iPhone , any other similar cellular
  1501 comprises an electronic device controller 1540 and an 25 phone or smart phone, MP3 or music player ,movie player,
  earbud engagement detector 1530 . The electronic device or other electronic device 1705 . As will be apparent to
 controller 1540 receives a signal from the earbud engage           someone of ordinary skill in the art, the set of earphones
 ment detector 1530 and sends a signal to the electronic        1750 is able to transmit a signal from any appropriate
 device activation circuit 1555 based upon the signal received
 from the earbud engagement detector 1530 . The electronic 30 electronic
                                                                some
                                                                            device 1705 as known in the art. For example , in
                                                                       embodiments   , the set of earphones 1750 transmits a
 device activation circuit 1555 operates an electronic device
  1505 based upon the signal received from the controller smart phone, tablet PC , Mp4media
                                                                signal  from   an electronic         player such as an iPad ,
                                                                                                player, or DivX Media format
  1540. In some embodiments, the earbud engagement detec        player.
 tor 1530 sends a signal to the controller 1540 that the one or
 more magnets 1585 and the earbud 1575 have been 35 As described above , the earphones holder body 1701 is
 decoupled from the earphones holder body 1501. In these able to be in a shape of a zipper puller , a snap fastener , an
  embodiments, upon receiving the signal from the earbud adornment, a buckle attachment, or an item of jewelry and
  engagement detector 1530 , the controller 1540 sends a         a magnet built into or embedded within the body and
  signal to the electronic device activation circuit 1555 to     comprises one or magnetically attractable surfaces 1710 and
  activate the electronic device 15015 . In some embodiments, 40 an electronic device controller 1740 . As shown in FIG . 17 ,
  the earbud engagement detector 1530 sends a signal to the the earphones 1750 comprise one or more magnets 1785 and
  controller 1540 that the one or more magnets 1585 and the         an earbud engagementdetector 1730. In someembodiments,
  earbud 1575 have been coupled with the earphones holder the electronic device controller 1740 and the earbud engage
  body 1501. In these embodiments, upon receiving the signalm ent detector 1730 are components of the earphone holder
  from the earbud engagement detector 1530 , the controller 45 body 1701 . Alternatively , in some embodiments , the elec
  1540 sends a signal to the electronic device activation circuit tronic device controller 1740 and the earbud engagement
  1555 to deactivate the electronic device 1505 .                   detector 1730 are components of the set of earphones 1750 .
    As shown within FIG . 15 , the earbud engagement detector         Using the one or more magnet 1785 of the earphones
  1530 and the electronic device controller 1540 are compo -   1750 , a user is able to couple the earphones 1750 with the
 nents of the earphones holder body 1501. However, as will 50 one or more magnetically attractable surfaces 1710 of the
 be apparent to someone of ordinary skill the art, one or more earphones holder body 1701 when not in use . The one or
 of the earbud engagement detector 1530 and the electronic more magnetically attractable surfaces 1710 are able to be
 device controller 1540 are able to be components of the set        fixedly or removably connected to the earphones holder
  of earphones 1550.                                            body 1701. In some embodiments, the holder body 1701
     As shown within FIG . 16 , in some embodiments, the one 55 further comprises one or more recesses for interlocking with
  or more magnets 1685 comprise a magnetically attractable      the earbud 1775 . In these embodiments, the body of the
  surface that is a circular body that fits around the earphones    earbud 1775 is press fit or snap fit into the one or more
  1650 . In some embodiments, the one or more magnets 1685     recesses of the earphones holder body 1701.
  removably couple with the earphones 1650 . In someof these      The electronic device controller 1740 receives a signal
  embodiments, the magnetically attractable surface 1685 is 60 from the earbud engagement detector 1730 and sends a
  stretchable and stretches to fit over the earphones 1650 . In     signal to the electronic device activation circuit 1755 based
  some embodiments, the magnetically attractable surface            upon the signal received from the earbud engagement detec
  1685 comprises a hinge or coupler which enables the tor 1730 . The electronic device activation circuit 1755
 magnetically attractable surface 1685 to be opened and       operates an electronic device 1705 based upon the signal
  coupled around the earphones 1650 . In some embodiments, 65 received from the controller 1740 . Particularly, the control
  the magnetically attractable surface 1685 is able to be     ler 1740 relays the signal from the earbud engagement
  opened at coupler and then placed around the earphones detector 1730 to the electronic device 1705 . As described
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 37 of 43 PageID #: 382


                                                      US 9 ,769,556 B2
                                19                                                                  20
  above, in some embodiments the signal received from the             magnet . When the user wishes to use the electronic device ,
  controller 1740 is a signal to activate and / or deactivate the      the earphones are removed from the magnet and a signal is
  electronic device 1705 .                                             transmitted in order to active an electronic device such as a
    In further embodiments , the earphones holder body 1701           music player or cell phone . Then , when the user no longer
  comprises an item that is placed on a counter top or other 5 wishes to use the electronic device , the earphones are
  similar item . In some embodiments, the electronic device            recoupled with the magnet and the electronic device is
  controller 1740, is able to send a signal to an activation           deactivated . In this manner, the earphones are able to be
  circuit 1755 of an electronic device 1705 that is removably          removed from the earphones holder body and an electronic
  coupled with an external docking station .                           device is automatically activated in order to answer a
    In some embodiments , the signal sent by the electronic 10 telephone call . Then , when the telephone call is terminated ,
 device controller 1740 to the electronic device activation        the user is able to recouple the earphones with the earphones
 circuit 1755 and the signal sent by the electronic device holder body and automatically deactivate the device . Alter
 activation circuit 1755 to the electronic device 1705 com - natively, the earphones are able to be removed from the
 prise one or more of infrared , infrared laser, radio frequency , earphones holder body and an electronic device is automati
 wireless, WiFi, and Bluetooth® . However, the signal sent by 15 cally activated in order to listen to music transmitted from a
  the electronic device controller 1740 and the electronic             music player or cell phone and then recoupled with the
  device activation circuit 1755 are able to comprise any              earphones holder body in order to deactivate the device
  wireless signal as known in the art. Alternatively , in some         when the use of the earphones is no longer desired.
  embodiments , the signal sent by the electronic device con             Referring now to FIGS. 19A - 19E , an embodiment of a
  troller 1740 and the electronic device activation circuit 1755 20 magnetic earphones and cord holding system is depicted
  comprise a wired signal.                                             therein . The magnetic earphones and cord holding system
    In further embodiments , the set of earphones 1750 com -           1900 comprises a body 1901 comprising a touch sensor
  prise wireless earphones . In these embodiments , the earbud 1903, an on / off button 1911 , a microphone 1913 , a speaker
  engagement detector 1730 sends a wireless signal to the      1915 , and a charging port 1917 . As shown in FIGS . 19A
  electronic device controller 1740 based on the engagement 25 19E , the body 1901 also comprises an electronic device
  status of the earphones and the earphones 1750 receive a             controller 1940 and a touch sensor detector 1960 . In some
 wireless content signal from the electronic device 1705 .             embodiments, the system comprises an earphones jack 1907
     FIG . 18 illustrates a magnetic earphones holding system and one or magnets or magnetically attractable surfaces
  in accordance with some embodiments. The system 1800        1920 and 1920 ' and one or more earbud engagement detec
 comprises a set of earphones comprising one or more 30 tors 1930 and 1930 '. The one or magnets or magnetically
 magnets or magnetically attractable surfaces 1885 built into attractable surfaces 1920 and 1920 ' are configured to remov
 the earbud 1875 and one or more magnets or magnetically      ably couple with one or more magnets 1985 and 1985 ' of a
  attractable surfaces 1895 built into the earbud 1875 '. As           set of earphones 1950 . In further embodiments , the body
  shown in FIG . 18 , the earbud 1875 comprises an earbud       1901 comprises a groove and/or one or more recesses for
  engagement detector 1830 and an electronic device control- 35 securing the earphones 1950 and the cord 1965 , as described
  ler 1840 built into the body of the earbud 1875 . Although ,  above .
  the earbud engagement detector 1830 and an electronic                  In some embodiments , the electronic device controller
  device controller 1840 built into a signal body of the earbud        1940 receives a signal from the earbud engagement detector
  1875 , as will be apparent to someone of ordinary skill in the       1930 and sends a signal to the electronic device activation
  art , the earbud engagement detector 1830 and the electronic 40 circuit 1955 based upon the signal received from the earbud
  device controller 1840 are able to be components of different        engagement detector 1930 . The electronic device activation
  earbuds.                                                             circuit 1955 operates an electronic device 1905 based upon
     The electronic device controller 1840 receives a signal           the signal received from the controller 1940. In some
  from the earbud engagement detector 1830 based upon an               embodiments , the earbud engagement detector 1930 sends a
  engagement of the earbud 1875 with the earbud 1875 '. In 45 signal to the controller 1940 that the one or more magnets
  some embodiments, the earbud engagement detector 1830       1985 and the earbud 1975 have been decoupled from the
  sends a signal to the controller 1840 that the one or more  earphones holder body 1901. In these embodiments , upon
 magnets or magnetically attractable surfaces 1885 have been           receiving the signal from the earbud engagement detector
  removed from the one or more magnets or magnetically                 1930 , the controller 1940 sends a signal to the electronic
  attractable surfaces 1895 . In these embodiments , upon 50 device activation circuit 1955 to activate the electronic
  receiving the signal from the earbud engagement detector             device 1905 . In some embodiments , the earbud engagement
  1830 , the controller 1840 sends a signal to the electronic   detector 1930 sends a signal to the controller 1940 that the
 device activation circuit 1855 to activate the electronic      one or more magnets 1985 and the earbud 1975 have been
 device 1805 . In some embodiments , the earbud engagement coupled with the earphones holder body 1901. In these
 detector 1830 sends a signal to the controller 540 that the 55 embodiments , upon receiving the signal from the earbud
 earbud 1875 has been coupled with the earbud 1875 '. In        engagement detector 1930 , the controller 1940 sends a
 these embodiments, upon receiving the signal from the          signal to the electronic device activation circuit 1955 to
 earbud engagement detector 1830 , the controller 1840 sends    deactivate the electronic device 1905 .
 a signal to the electronic device activation circuit 1855 to      In further embodiments , the touch sensor detector 1960
  deactivate the electronic device 1805 .                           60 receives a signal from the touch sensor 1903 based upon a
    In operation , the earphones holder enables a user to              contact with the touch sensor 1903 and sends a signal to the
 comfortably utilize a headset without becoming entangled              electronic device controller 1940 , which sends a signal to the
 within the cord . In some embodiments , a user uses a groove          electronic device activation circuit 1955 . The electronic
 and the magnets of a cord holder body while using the                 device activation circuit 1955 operates an electronic device
 headset to listen to an electronic device . A user places a set 65 1905 based upon the signal received from the controller
  of earphones near to the magnet in order to allow the                1940 . For example , in some embodiments , the touch sensor
 earphones to magnetically attract to and be held by the               detector 1960 sends a signal to the electronic device con
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 38 of 43 PageID #: 383


                                                       US 9,769,556 B2
                                                                                                 22
  troller 1940 that the touch sensor 1903 has been tapped ,         circuit 1955 and the signal sent by the electronic device
  double -tapped , and /or swiped . In response, the electronic     activation circuit 1955 to the electronic device 1905 com
  device controller 1940 sends a signal to the electronic device    prise one or more of infrared , infrared laser, radio frequency ,
  activation circuit 1955 to operate the electronic device 1905 .   wireless , WiFi, and Bluetooth® . However, the signal sent by
  In some embodiments , the electronic device controller 1940 5 the electronic device controller 1940 and the electronic
  is able to send a signal to activate /de -activate the electronic device activation circuit 1955 are able to comprise any
 device , turn up or turn down the volume, change the playing       wireless signal as known in the art. Alternatively , in some
 media , and /or change the program being operated by the           embodiments , the signal sent by the electronic device con
  electronic device 1905 . Particularly, the electronic device      troller 1940 and the electronic device activation circuit 1955
  controller 1940 is able to send any appropriate desired 10 comprise a wired signal .
 control signal to the electronic device 1905 . Additionally,       FIG . 21 illustrates a block diagram showing the compo
 the touch sensor 1903 is able to be operated in any desired     nents of the body 1901 of the system 1900 . As described
 manner.                                                         above, the body 1901 comprises a touch sensor 1903 , an
    In some embodiments, the magnetic and cord holding           on / off button 1905 , a microphone 1913 , a speaker 1915 , and
 system 1900 is used with the set of earphones 1950. In these 15 a charging port 1917 . As shown in FIGS. 19A - 19E , the body
  embodiments , the power input 1995 is inserted into the           1901 also comprises an electronic device controller 1940
  earphones jack 1907 and the one or more magnets 1985 and          and a touch sensor detector 1960. In some embodiments, the
  1985 ' are removably coupled with the one or more magnets         system comprises an earphones jack 1907 and one or
  or magnetically attractable surfaces 1920 and 1920 '. In some     magnets or magnetically attractable surfaces 1920 and 1920
  embodiments, a user is able to remove the earphones 1950 20       and one or more earbud engagement detectors 1930 and
  and transmit a signal in order to activate the electronic         1930 '. In some embodiments , the body 1901 comprises a
  device 1905 , as described above . Then , with the earphones      printed circuit board 1923 and a battery 1925 for supplying
  in their ears, a user is able to utilize the touch sensor 1903    power to the system 1900 . In some embodiments, the body
  in order to operate the electronic device 1905 . In some      1901 further comprises an LED light 1919 for indicating that
  embodiments , the magnetic and cord holding system 1900 is 25 the body 1901 is powered on . In some embodiments , the
  used with a short cord set of earphones. Consequently , the       earphones jack 1907 is a 3 .5 mm jack . However, as will
  set of earphones is able to be used without becoming              apparent to someone of ordinary skill in the art, the ear
  entangled in the clothing of the user. Particularly, as shown     phones jack 1907 is able to comprises any appropriately
  in FIG . 20 , because the power input 1975 and the earphones      sized jack . In some embodiments , the charging port 1917 is
  1950 are held closely together when coupled with the body 30      a USB port. However, the charging port 1917 is able to
  1901 , the cord 1965 of the earphones only needs to long          comprise any appropriately sized charging port.
  enough to comfortably couple the earphones 1950 with the            FIG . 22 illustrates the magnetic and cord holding system
  ears of a user and enable the user to use the touch sensor        1900 removably coupled to a shirt collar in accordance with
 1903 and / or the microphone 1913 of the body 1901 of the    some embodiments . The body 1901 of the system 1900 has
 magnetic and cord holding system 1900 .                   35 been coupled to the shirt 2200 by using the clip 1909, as
    In further embodiments, the magnetic and cord holding           shown in FIGS. 19A and 19B . When using the clip 1909 , a
  system 1900 is able to be used without the set of earphones       user is able to secure the body 1901 in a convenient, desired
  1950 . For example , the touch sensor 1903 is able to be          location . As will be apparent to someone of ordinary skill in
  contacted in order activate the electronic device 1905 and       the art, the body 1901 is able to be secured in any appro
  then a user is able to utilize the touch sensor 1903 in order 40 priate manner as known in the art. For example , in some
  to operate the electronic device 1905 . In these embodiments ,    embodiments , the body 1901 is coupled with a lanyard
  the touch sensor 1903 is able to be utilized in order to answer   which is placed around a neck of a user in order to place the
  a telephone call and communicate using the microphone             body 1901 in a convenient location .
  1913 and the speaker 1915 . Then , when the telephone call is       FIG . 23 illustrates a schematic view showing the compo
  terminated , the user is able to utilize the touch sensor 1903 45 nents of a magnetic earphones and cord holding system in
  to terminate the call and deactivate the electronic device        accordance with some embodiments . As shown in FIG . 23 ,
  1905 . Additionally, in some embodiments , the system 1900        the magnetic earphones and cord holding system 2300
 and the touch sensor 1903 are used without audio in order to       comprises an earbud engagement detector 2330 , an elec
  control a program running on the electronic device 1905 .         tronic device controller 2340, and an electronic device
     The magnetic and cord holding system 1900 is able to be 50 activation circuit 355 . As described above, the earbud
 used with a variety of electronic devices and in a variety of engagement detector 2330 detects an engagement of an
 settings. For example , in some embodiments, the system          earbud with the one or more magnets of the body as shown
 1900 is utilized with an electronic device that is coupled       in FIGS. 19A - 19E . The earbud engagement detector 2330
 with an external docking station . In further embodiments , sends a signal to the electronic device controller 340 based
 the system 1900 is able to be used as a controller for a game 55 upon the engagement status of the earbud . The electronic
 or program located on the electronic device . In these           device controller 2340 processes the signal it receives from
 embodiment the touch sensor 1903 is able to be utilized to       the earbud engagement detector 2330 and sends a signal to
 send control messages to the electronic device in order to       the electronic device activation circuit 2355 which operates
 control the game or program . In further embodiments , the       an electronic device in a manner dependent upon the signal
  system 1900 is able to receive a signal from an electronic 60 from the electronic device controller 2340 . In some embodi
  device . For example , in some embodiments the system 1900        ments , the electronic device controller 2340 sends a signal
  is able to receive an audio signal from the electronic device     to the electronic device activation circuit 2355 to activate the
  through the speaker 1915 . Further, in some embodiments,          electronic device . In some embodiments, the electronic
  the speaker 1915 and the microphone 1913 are used to          device controller 2340 sends a signal to the electronic device
  communicate voice controls to the electronic device 1905 . 65 activation circuit 2355 to deactivate the electronic device .
     In some embodiments , the signal sent by the electronic       As further shown in FIG . 23 , the magnetic earphones and
  device controller 1940 to the electronic device activation        cord holding system 2300 comprises a touch sensor detector
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 39 of 43 PageID #: 384


                                                       US 9,769,556 B2
                               23                                                               24
  2360 . The touch sensor detector detects a contact of the         plays audio through the headphones . Particularly, the head
  touch sensor 903 (FIG . 9A ) and sends a signal to the            phones are able to receive transmitted audio from any
  electronic device controller 2340 based upon the contact          appropriate device configured for use with headphones . The
 with the touch sensor 903 . The electronic device controller second set of controls 2535 controls an external audio
  2340 processes the signal it receives from the touch sensor 5 received from a microphone coupled to the headphones .
 detector 2360 and sends a signal to the electronic device Particularly , the second set of controls 2535 is able to adjust
 activation circuit 2355 to operate an electronic device in a a volume of surrounding ambient nose received by the
 manner based upon the signal received from the electronic         microphone and played through the headphones.
 device controller 2340. In some embodiments , the electronic         The first set of controls 2530 and the second set of
 device controller 2340 sends a signal to the electronic device 10 controls
 activation circuit 2355 to activate/ de - activate the electronic 2540. The2535   send a signal to the headphones controller
                                                                             headphones controller 2540 processes the signals
 device , turn up or turn down the volume, change the playing from the first set of controls 2530 and the second set of
 media , and /or change the program being operated by the controls            2535 and sends a signal to one or both of the
  electronic device .
                                                           netic 15
     FIG . 24 illustrates a method of operating a magnetic 15 tran  transmitted audio adjustment circuit 2550 and the external
  earphones and cord holding system comprising a touch audio adjustment circuit 2555 . For example , in some
 sensor in accordance with some embodiments . In the step           embodiments, the first set of controls 2530 sends a signal to
  2404 , a contact of a touch sensor is detected . For example, the headphones controller 2540 to adjust a volume of the
  in some embodiments it is detected that the touch sensor is       transmitted audio received through the headphones . The
 tapped , double-tapped , swiped in a sideways direction , 20 headphones controller 2540 processes the signal from the
  and / or swiped in an up and down direction . Then , based        first set of controls 2530 and sends a signal to the transmitted
  upon the contact with the touch sensor, in the step 2406 , a      audio adjustment circuit 2550 to turn up or turn down the
  signal is sent to operate the electronic device . In some         volume of the transmitted audio . In some embodiments, the
  embodiments, the signal is one or more of an infrared , second set of controls 2535 sends a signal to the headphones
  infrared laser, radio frequency , wireless , WiFi, and Blu - 25 controller 2540 to adjust a volume of the external audio
  etooth® signal. In some embodiments , the signal is a wired       received by the microphone and played through the head
  signal. In some embodiments, the signal is a signal to phones. The headphones controller 2540 processes the sig
  activate /de-activate the electronic device, turn up or turn nal from the second set of controls 2535 and sends a signal
  down the volume, change the playing media , and/ or change to the external audio adjustment circuit 2555 to turn up or
  the program being operated by the electronic device .        3030 turn
                                                                    + down the volume of the external audio received by the
     The magnetic earphones and cord holding system enables         microphone and played through the headphones.
  a user to automatically activate and/ or deactivate an elec
  tronic device and place the earphones in a convenient                The first set of controls 2530 and the second set of
 location when using the earphones and when not in use.             controls 2535 enable a user to precisely set a volume level
 Consequently , the earphones and cord holding system has 3525 of transmitted audio and external audio played through the
 the advantage of providing an inexpensive and easy way to headphones. For example , a user is able to use the second set
 hold a headset cord in a comfortable and convenient position       of controls 2535 to adjust the level of ambient noise to zero
 while utilizing an electronic device . Additionally , the ear      and /or off so that the headphones are isolated from the
 phones and cord holding system is able to conserve power         surrounding ambient noise of the external environment.
 by ensuring that the electronic device is only activated when 40 Alternatively , the second set of controls 2535 may be used
 needed . Accordingly, the magnetic earphones and cord hold       to adjust the level of ambient noise to a level where the user
  ing system described herein has numerous advantages .             is able to have a conversation or clearly hear outside noises
     In another aspect, a set of headphones and audio system        while still wearing the headphones . Particularly, the first set
  comprises a first set of buttons for controlling a volume level of controls 2530 and the second set of controls 2535 are able
  of transmitted audio to the headphones and a second set of 45 to adjust the level of transmitted audio and the level of
 buttons for controlling a volume level of external audio           external audio played by the headphones to an acceptable
 played by the headphones. The transmitted audio comprises          level as desired by the user.
 audio received from an audio source such as an electronic             In some embodiments, the audio system 2500 comprises
  device and the external audio comprises surrounding ambi-         a magnetic earphones and cord holding system , such as
  ent noise received by a microphone coupled to the head - 50 described above and the first set of controls 2530 and the
  phones. With the first set of controls and the second set of      second set of controls 2535 comprise touch screen controls
  controls a user is able to adjust the volume level of the         of the touch sensor 1903 (FIG . 19 ). Additionally , in some
  transmitted audio and the volume level of the external audio      embodiments , the first set of controls 2530 comprises a first
  in order to listen to the transmitted audio while still inter -   set of buttons and the second set off controls 2535 comprises
 acting with the surrounding environment. The set of head - 55 a second set of buttons. In some embodiments , the first set
 phones and audio system is able to be used with the           of controls 2530 and the second set of controls 2535 are a
 magnetic earphones and cord holding system , such as          component of the headphones and /or headphones cord . In
 described above .                                             some embodiments, the headphones comprise a noise can
   Referring now to FIG . 25 , a schematic view of an audio    celing element.
 system is depicted therein . As shown within FIG . 25 , the 60 FIG . 26 illustrates a set of headphones in accordance with
  audio system 2500 comprises a first set of controls 2530 , a      some embodiments . The set of headphones comprises a set
  second set of controls 2535 , a headphones controller 2540,       of earphones 2670 for playing transmitted audio and exter
  a transmitted audio adjustment circuit 2550 and an external       nal audio received through a microphone 2660. As shown in
  audio adjustment circuit 2555 . The first set of controls 2530    FIG . 26 , the earphones 2670 comprise a set of earbuds
  controls a transmitted audio to a set of headphones. The 65 designed to be worn within the ears of the user. However, the
  transmitted audio is transmitted from an electronic device ,      earphones 2670 are able to comprise over the ear head
  such as described above , or a similar audio player which         phones or other design as appropriately desired . As
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 40 of 43 PageID #: 385


                                                       US 9, 769,556 B2
                           25                                                                      26
  described above, in some embodiments , the transmitted             to adjust the level of transmitted audio and the level of
  audio is received from a electronic or other device trans          external audio played by the headphones to an acceptable
 mitting audio .                                                     level as desired by the user.
    As further shown in FIG . 26 , the headphones 2600                  FIG . 27 illustrates a method of operating a set of head
  comprise a first set of controls 2630 , a second set of controls 5 phones in accordance with some embodiments..
  2635 , a headphones controller 2640 , a transmitted audio            The method begins in the step 2710 . In the step 2720 ,
  adjustment circuit 2650 and an external audio adjustment           audio is received from an electronic device. As described
  circuit 2655 . Although the first set of controls 2630 , the       above , the transmitted audio is transmitted from an elec
                                                                    tronic device , such as described above , or a similar audio
 second set of controls 2635 , the headphones controller 2640 , player
 the transmitted audio adjustment circuit 2650 and the exter 10 step        which plays audio through the headphones . In the
                                                                          2730 , external audio is received from a microphone
 nal audio adjustment circuit 2655 are shown coupled to             coupled to the set of headphones. Then , in the step 2740 a
 separate components of the headphones 2600, the first set of volume         level of one or more of the transmitted audio and the
 controls 2630 , the second set of controls 2635 , the head external audio is adjusted to a level as desired by the user.
 phones controller 2640, the transmitted audio adjustment 15 In some embodiments, a first set of controls and a second set
 circuit 2650 and the external audio adjustment circuit 2655 of controls enable a user to precisely set a volume level of
 may be coupled together and/or separately as appropriately transmitted audio and external audio played through the
 desired . In some embodiments , the first set of controls 2630, headphones . In some embodiments, the first set of controls
 the second set of controls 2635 are touch screen controls and the second set of controls comprise touch screen con
 used with a magnetic earphones and cord holding system , 20 trols. Alternatively, in some embodiments, the first set of
 such as described above .                                          controls comprises a first set of buttons and the second set
    In some embodiments, the first set of controls 2630 off controls comprises a second set of buttons. The first set
 comprises a first button 2631 for raising the volume of the of controls and the second set of controls are able to be
 transmitted audio and a second button 2632 for lowering the        coupled to the headphones and /or a magnetic headphones
 volume of the transmitted audio . Similarly , the second set of 25 holder as described above. The method ends in the step
 controls 2635 comprises a first button 2636 for raising the 2750 .
 volume of the transmitted audio and a second button 2637              In use the set of headphones comprising a microphone for
  for lowering the volume of the external audio received by     receiving ambient surrounding noise enables a user to adjust
  the microphone 2660 and played through the headphones         the amount of ambient noise played through the headphones .
  2600 . In some embodiments, the first set of controls 2630 30 Using a set of controls the level of ambient noise may be
  and the second set of controls 2635 comprise touch screen          turned all the way off in order to be isolated from surround
  controls . In some embodiments , the headphones 2600 com -         ing ambient noises while only listening to transmitted music.
  prise a noise canceling element 2680 .                             Alternatively , the ambient noise may be turned to a level that
    As described above , the first set of controls 2630 and the      allows the user to interact with the surrounding environment
  second set of controls 2635 send a signal to the headphones 35 while still wearing the headphones and listening to the
  controller 2640 . The headphones controller 2640 processes         transmitted music .
  the signals from the first set of controls 2630 and the second        With the headphones, a user is able to go for a bike ride
  set of controls 2635 and sends a signal to one or both of the      or a run while listening to music while still hearing the
  transmitted audio adjustment circuit 2650 and the external         surrounding traffic and other ambient noises . Additionally , if
  audio adjustment circuit 2655 . For example , in some 40 a user needs to interact with another person they only need
 embodiments , the first set of controls 2630 sends a signal to      to increase the level of ambient noise in order to hear the
 the headphones controller 2640 to adjust a volume of the            other person and carry on a conversation . The headphones
 transmitted audio received through the headphones . The             enable a user to interact with the surrounding environment
  headphones controller 2640 processes the signal from the           without removing the earphones and interrupting the audio
 first set of controls 2630 and sends a signal to the transmitted 45 experience . Particularly , the user is able to carry out every
 audio adjustment circuit 2650 to turn up or turn down the           day tasks while listening to music or other audio while
 volume of the transmitted audio . In some embodiments , the         maintaining contact with surrounding environment and
  second set of controls 2635 sends a signal to the headphones       other persons. Accordingly, the set of headphones compris
  controller 2640 to adjust a volume of the external audio           ing a microphone for receiving surrounding ambient noise as
  received by the microphone and played through the head - 50 described herein has many advantages .
  phones. The headphones controller 2640 processes the sig -     The presently claimed invention has been described in
  nal from the second set of controls 2635 and sends a signal        terms of specific embodiments incorporating details to
  to the external adjustment circuit 2655 to turn up or turn         facilitate the understanding of the principles of construction
 down the volume of the external audio received by the and operation of the invention . As such , references herein to
 microphone and played through the headphones .         55 specific embodiments and details thereof are not intended to
    The first set of controls 2630 and the second set of limit the scope of the claims appended hereto . It will be
  controls 2635 enable a user to precisely set a volume level        apparent to those skilled in the art that modifications can be
  of transmitted audio and external audio played through the         made to the embodiments chosen for illustration without
 headphones. For example, a user is able use the second set departing from the spirit and scope of the invention .
 of controls 2635 to adjust the level of ambient noise to zero 60
 and /or off so that the headphones are isolated from the         What is claimed is :
 surrounding ambient noise of the external environment.           1. An audio system comprising :
  Alternatively, the second set of controls 2635 may be used            a . a holder body comprising one or more magnetically
  to adjust the level of ambient noise to a level where the user            attractable first surfaces ;
  is able to have a conversation or clearly hear outside noises 65      b . a set of head phones each comprising a magnetic
 while still wearing the headphones . Particularly , the first set        second surface for removably coupling with the one or
  of controls 2630 and the second set of controls 2635 are able           more magnetically attractable first surfaces;
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 41 of 43 PageID #: 386


                                                       US 9 ,769,556 B2
                                27                                                              28
    c. a headphones controller coupled to receive an activa -           17 . The set of headphones of claim 9 , wherein the
       tion signal when a magnetic decoupling is detected as          headphones comprise a noise canceling element.
       one or more of the magnetic second surfaces of the set            18 . A method of operating a set of headphones compris
       of head phones is removed and decoupled from one of            ing:
        the one or more magnetically attractable first surfaces, 5      a . removably coupling a magnetic surface of the set of
       wherein the activation signal causes transmitted audio                headphones to a magnetically attractable surface of a
        to be played in the headphones ;                                     holder body,
    d . a first set of controls for controlling a volume of the         b . sending an activation signal to a controller when a
        transmitted audio played by the head phones ; and                    magnetic decoupling is detected as the magnetic sur
     e . a second set of controls for controlling a volume of 10              face ofthe set of headphones is removed and decoupled
         external audio played by the headphones .                            from the magnetically attractable surface of the holder
     2 . The audio system of claim 1 , wherein the first set of              body, wherein the activation signal causes transmitted
                                                                            audio to be played in the headphones ;
  controls and the second set of controls comprise touch                c . receiving the transmitted audio from an electronic
  sensitive controls .                                                       device ;
     3. The audio system of claim 1, wherein the headphones 15 d. receiving external audio from a microphone of the
  controller, the first set of controls and the second set of          headphones ; and
  controls are a component of the headphones.                       e. adjusting a volumelevel of one of the transmitted audio
    4 . The audio system of claim 1, wherein the first set of          and the external audio .
  controls comprises a first set of buttons and the second set 20 19 . The method of claim 18 ,wherein a first set of controls
  of controls comprises a second set of buttons .                control the volume of transmitted audio played by the
     5 . The audio system of claim 1, wherein the transmitted headphones and a second set of controls control the volume
  audio comprises audio received from an electronic device .          of external audio played by the headphones .
     6 . The audio system of claim 1 , wherein the external audio       20 . The method of claim 19 , wherein the first set of
  comprises surrounding ambient noise received from an 25 controls and the second set of controls comprise touch
  external microphone .                                               sensitive controls.
     7 . The audio system of claim 6 , wherein the second set of         21 . The method of claim 19 , wherein the first set of
  controls control the volume level of ambient noise received         controls comprises a first set of buttons and the second set
 through the headphones .                                         of controls comprises a second set of buttons.
     8 . The audio system of claim 1 , wherein the audio system 30 22 . The method of claim 19 , wherein the first set of
 comprises a noise canceling element.                             controls and the second set of controls are a component of
     9. A set of headphones for removably coupling with a the headphones.
 holder body having one or more magnetically attractable ortable     23 . An audio system comprising :
 first surfaces comprising :                                        a . a first earphone comprising a magnet;
    a . a set of headphones for playing transmitted audio and 35 b . a second earphone comprising a magnetically
         externalaudio , the set ofheadphones comprising one or          attractable surface for removably coupling with the
        more magnetic second surfaces ;                                  magnet;
    b . a microphone for receiving the external audio ; and          c . an electronic device controller configured to receive an
    c . a headphones controller coupled to receive an activa             activation signal when a magnetic decoupling is
       tion signal when a magnetic decoupling is detected as 40              detected as the magnetically attractable surface is
       one or more of the magnetic second surfaces is                        removed and decoupled from the magnet, wherein the
       removed and decoupled from one of the one or more                     activation signal causes transmitted audio to be played
       magnetically attractable first surfaces, wherein the acti             in the first earphone and the second earphone , further
        vation signal causes the transmitted audio to be played            wherein the electronic device controller receives a
        in the headphones.                                       45         deactivation signal when the magnetically attractable
     10 . The set of headphones of claim 9 , wherein a first set            surface is again coupled to the magnet, wherein the
  of controls control the volume of transmitted audio played                deactivation signal causes the transmitted audio to stop
 by the headphones and a second set of controls control the                 being played in the first earphone and the second
 volume of external audio played by the headphones.                         earphone;
      11 . The set of headphones of claim 10 , wherein the first 50     d . a first set of controls for controlling a volume of the
  set of controls and the second set of controls comprise touch             transmitted audio played by the first and second ear
  sensitive controls .                                                       phones ; and
      12 . The set of headphones of claim 10 , wherein the first        e . a second set of controls for controlling a volume of
  set of controls comprises a first set ofbuttons and the second            external audio played by the first and second ear
  set of controls comprises a second set of buttons.             55         phones .
     13. The set of headphones of claim 10 , wherein the first           24 . The audio system of claim 23 , wherein the transmitted
  set of controls and the second set of controls are a compo -        audio comprises audio received from an electronic device .
 nent of the headphones .                                               25 . The audio system of claim 23 , wherein the external
     14 . The set of headphones of claim 9 , wherein the              audio comprises surrounding ambient noise received from
  transmitted audio comprises audio received from an elec - 60 an external microphone .
  tronic device .                                                      26 . The audio system of claim 25 , wherein the second set
     15 . The set of headphones of claim 9 , wherein the external     of controls control the volume level of ambient noise
  audio comprises surrounding ambient noise received from           received through the earphones.
  the external microphone .                                            27 . The audio system of claim 23 , wherein the audio
     16 . The set of headphones of claim 10 , wherein the second 65 system comprises a noise canceling element.
  set of controls control the level of ambient noise played by         28 . A method of operating an electronic device compris
  the headphones .                                                  ing:
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 42 of 43 PageID #: 387


                                                      US 9, 769,556 B2
                                 29                                                                 30
    a. detecting an engagement status of a magnetic surface of            b . sending an activation signal to an electronic device
        a first earphone with a magnetically attractable surface             when a magnetic decoupling is detected as the first
        of a second earphone ;                                              earphone is removed and decoupled from the second
    b . sending an activation signal to an electronic device                earphone , wherein the activation signal causes trans
       when a magnetic decoupling is detected as the mag - 5                mitted audio to be played in the first earphone and the
       netic surface of the first earphone is removed and                    second earphone ;
        decoupled from the magnetically attractable surface of            c. sending a deactivation signal to the electronic device
      the second earphone , wherein the activation signal                     when the first earphone is again coupled to the second
      causes transmitted audio to be played in the first                      earphone , wherein the deactivation signal causes the
      earphone and the second earphone ;                           10
    c . sending a deactivation signal to the electronic device                transmitted audio to stop being played in the first
        when themagnetic surface of the first earphone is again               earphone and the second earphone;
        coupled to the magnetically attractable surface of the            d . operating the electronic device based upon the engage
       second earphone , wherein the deactivation signal                     ment status of the first earphone with the second
      causes the transmitted audio to stop being played in the 15             earphone;
       first earphone and the second earphone;                            e . receiving the transmitted audio from the electronic
    d . operating the electronic device based upon the engage                device;
      ment status of the magnetic surface of the first earphone           f. receiving external audio from a microphone; and
       with the magnetically attractable surface of the second            g . adjusting a volume level in the first earphone and the
       earphone ;                                                             second earphone of one of the transmitted audio and the
    e. receiving the transmitted audio from the electronic                    external audio .
        device ;                                                           37 . The method of claim 36 , wherein the first earphone is
    f. receiving external audio from a microphone ; and                 coupled to the second earphone by a magnet.
    g. adjusting a volume level in the first earphone and the              38 . A method of operating an electronic device compris
        second earphone of one of the transmitted audio and the    25   ing :
       external audio .                                                   a . detecting an engagement status of a magnetic surface of
    29. An audio system comprising:                                            a first earphone with a magnetically attractable surface
    a . a first earphone;                                                     of a second earphone;
    b . a second earphone removably coupled to the first                  b . sending an activation signal to an electronic device
       earphone ;                                                  30
                                                                   30       when a magnetic decoupling is detected as the mag
    c . an electronic device controller configured to receive an            netic surface of the first earphone is removed and
        activation signal when a magnetic decoupling is                      decoupled from the magnetically attractable surface of
        detected as the second earphone is removed and                       the second earphone , wherein the activation signal
        decoupled from the first earphone, wherein the activa                causes transmitted audio to be played in the first
      tion signal causes transmitted audio to be played in the 35            earphone and the second earphone ;
       first earphone and the second earphone , wherein the               c . sending a deactivation signal to the electronic device
       electronic device controller receives a deactivation                 when themagnetic surface of the first earphone is again
      signal when the second earphone is again coupled to                   coupled to the magnetically attractable surface of the
      the first earphone, wherein the deactivation signal                    second earphone , wherein the deactivation signal
      causes the transmitted audio to stop being played in the 40            causes the transmitted audio to stop being played in the
      first earphone and the second earphone;                                first earphone and the second earphone ; and
    d . a first set of controls for controlling a volume of the           d . operating the electronic device based upon the engage
        transmitted audio played by the first and second ear                mentstatus of themagnetic surface of the first earphone
       phones; and                                                          with the magnetically attractable surface of the second
    e . a second set of controls for controlling a volume of 45              earphone.
        external audio played by the first and second ear                 39 . An audio system comprising:
      phones                                                              a . a first earphone ;
    30 . The audio system of claim 29 , wherein the transmitted           b . a second earphone removably coupled to the first
  audio comprises audio received from an electronic device .                 earphone; and
    31. The audio system of claim 29 , wherein the external 50            c . an electronic device controller configured to receive an
  audio comprises surrounding ambient noise received from                   activation signal when a magnetic decoupling is
  an externalmicrophone.                                                    detected as the second earphone is removed and
    32. The audio system of claim 31, wherein the second set                decoupled from the first earphone, wherein the activa
  of controls control the volume level of ambient noise                     tion signal causes transmitted audio to be played in the
 received through the earphones .                              55     first earphone and the second earphone , wherein the
    33 . The audio system of claim 29 , wherein the audio             electronic device controller receives a deactivation
 system comprises a noise canceling element.                          signal when the second earphone is again coupled to
    34 . The audio system of claim 29 , wherein the first             the first earphone , wherein the deactivation signal
 earphone comprises a magnet and the second earphone                  causes the transmitted audio to stop being played in the
 comprises a magnetically attractable surface .                       first earphone and the second earphone.
    35 . The audio system of claim 29 , wherein the first         40 . A method of operating an electronic device compris
 earphone comprises a first magnet and the second earphone ing :
 comprises a second magnet .                                      a . detecting an engagement status of a first earphone with
    36 . A method of operating an electronic device compris           a second earphone;
 ing :                                                         65 b . sending an activation signal to an electronic device
    a. detecting an engagement status of a first earphone with        when a magnetic decoupling is detected as the first
       a second earphone;                                             earphone is removed and decoupled from the second
Case 2:19-cv-00387-JRG Document 37-2 Filed 08/04/20 Page 43 of 43 PageID #: 388


                                                       US 9 ,769 ,556 B2
                                31                                                                 32
       earphone , wherein the activation signal causes trans              46 . Themethod of claim 28 wherein the activation signal
       mitted audio to be played in the first earphone and the causes an incoming call to a telephone to be answered and
       second earphone ;                                       connected and further wherein the transmitted audio com
    C. sending a deactivation signal to the electronic device prises audio for the call .
       when the first earphone is again coupled to the second 5 47 . The method of claim 46 wherein the deactivation
        earphone, wherein the deactivation signal causes the signal causes an ongoing call through the telephone to be
        transmitted audio to stop being played in the first terminated .
        earphone and the second earphone; and                    48 . The method of claim 28 wherein the activation signal
    d . operating the electronic device based upon the engage
       ment status of the first earphone with the second 10    causes  the electronic device to start transmitting audio to be
      earphone .                                                       played in the headphones .
    41. The audio system of claim 1 wherein the activation                49 . The method of claim 48 wherein the deactivation
  signal causes an incoming call to a telephone to be answered          signal causes the electronic device to stop transmitting audio
  and connected and further wherein the transmitted audio       to be played in the headphones .
  comprises audio for the call.                                    50 . The method of claim 28 wherein the activation signal
                                                             15 is sent
    42 . The audio system of claim 41 wherein a deactivation            wirelessly .
                                                                   51. The audio system of claim 29 wherein the activation
  signal is sent when on or more of the magnetic second         signal causes an incoming call to a telephone to be answered
  surfaces is again coupled with one of the one or more                and connected and further wherein the transmitted audio
 magnetically attractable first surfaces and further wherein
  the deactivation signal causes an ongoing call through the 20 comprises   audio for the call .
                                                                  52 . The audio system of claim 51 wherein the deactivation
  telephone to be terminated .                                          signal causes an ongoing call through the telephone to be
    43 . The audio system of claim 5 wherein the activation
  signal causes the electronic device to start transmitting audio      terminated .
  to be played in the headphones .                                       53. The audio system of claim 30 wherein the activation
                                                        ation
    44 . The audio system of claim 43 wherein a deactivation         of signal causes the electronic device to start transmitting audio
 signal is sent when one or more of the magnetic second             -25 toSignbe played in the headphones.
  surfaces is again coupled within one of the one or more                   54. The audio system of claim 53 wherein the deactivation
 magnetically attractable first surfaces and further wherein            signal    causes the electronic device to stop transmitting audio
 the deactivation signal causes the electronic device to stop           to18be played in the headphones .
 transmitting audio to be played in the headphones.                          55 . The audio system of claim 29 wherein the activation
                                                                     30 signal
    45 . The audio system of claim 1 wherein the activation                       is sent wirelessly .
  signal is sent wirelessly .                                                                  *   *    *   *   *
